                                                                                                                               Case 2:24-cv-09557      Document 1        Filed 11/05/24   Page 1 of 40 Page ID #:1




                                                                                                                          1   MALK & POGO LAW GROUP, LLP
                                                                                                                          2   Valter Malkhasyan (SBN 348491)
                                                                                                                              valter@malkpogolaw.com
                                                                                                                          3   Erik Pogosyan (SBN 345650)
                                                                                                                          4   erik@malkpogolaw.com
                                                                                                                              1241 S. Glendale Ave, Suite 204
                                                                                                                          5   Glendale, CA 91205
                                                                                                                          6   Tel: (818) 484-5204
                                                                                                                              Counsel for Plaintiff
                                                                                                                          7
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                                      UNITED STATES DISTRICT COURT
                                                                                                                          9
                                                                                                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                         10

                                                                                                                         11
                                                                                                                              MARAT MARTIROSYAN,                             Case No.
                                                                                                                         12   individually and on behalf of all others
                                                                                                                              similarly situated,                           CLASS ACTION COMPLAINT
                                                                                                                         13

                                                                                                                         14                      Plaintiff,                 1. VIOLATION OF CALIFORNIA
                                                                                                                                                                               CONSUMERS LEGAL REMEDIES
                                                                                                                         15
                                                                                                                                   vs.                                         ACT, CIVIL CODE § 1750, et. seq.
                                                                                                                         16                                                 2. VIOLATION OF CALIFORNIA
                                                                                                                              9199-4467 QUÉBEC INC. d/b/a                      FALSE ADVERTISING LAW,
                                                                                                                         17
                                                                                                                              EARTH RATED,                                     BUSINESS AND PROFESSIONS
                                                                                                                         18                                                    CODE § 17500, et. seq.
                                                                                                                                                 Defendant.
                                                                                                                         19                                                 3. VIOLATION OF CALIFORNIA
                                                                                                                         20
                                                                                                                                                                               UNFAIR COMPETITION LAW,
                                                                                                                                                                               BUSINESS AND PROFESSIONS
                                                                                                                         21                                                    CODE § 17200, et. seq.
                                                                                                                         22                                                 4. UNJUST ENRICHMENT
                                                                                                                         23                                                 5. BREACH OF EXPRESS
                                                                                                                         24                                                    WARRANTY

                                                                                                                         25                                                 DEMAND FOR JURY TRIAL
                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                         1
                                                                                                                                                              CLASS ACTION 1COMPLAINT
                                                                                                                               Case 2:24-cv-09557      Document 1     Filed 11/05/24   Page 2 of 40 Page ID #:2




                                                                                                                          1         Plaintiff Marat Martirosyan      Plaintiff
                                                                                                                          2                                              Class and                        ), brings this
                                                                                                                          3   class action lawsuit against 9199-4467 QUÉBEC INC. d/b/a Earth Rated
                                                                                                                          4     Defendant                s as follows:
                                                                                                                          5                                    INTRODUCTION
                                                                                                                          6         1.    This is a class action lawsuit brought on behalf of all purchasers of Earth
                                                                                                                          7                 -                       (available in various scents and sizes) (the
                                                                                                                          8              ), a pet wipe that is sold online and at retail locations throughout California
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   and the United States.
                                                                                                                         10         2.                                                                                 -
                                                                                                                         11              Challenged Representation                        ontrary to the Product s
                                                                                                                         12   Challenged Representation, as explained in detail below, the Product actually
                                                                                                                         13   contains numerous non-plant-based, unnatural, synthetic, artificial, and/or highly
                                                                                                                         14   processed ingredients. Through falsely, misleadingly, and deceptively labeling the
                                                                                                                         15   Product, Defendant seeks                                                   a truly plant-
                                                                                                                         16   based product. Yet, Defendant has done so at the expense of unwitting consumers, as
                                                                                                                         17   well as              lawfully acting competitors, over whom Defendant maintains an
                                                                                                                         18   unfair competitive advantage.
                                                                                                                         19         3.    Plaintiff brings this action individually and in a representative capacity
                                                                                                                         20   on behalf of similarly situated consumers who purchased the Product during the
                                                                                                                         21   relevant Class Period (Class and/or Subclass defined infra), for dual primary
                                                                                                                         22   objectives: One
                                                                                                                         23   Class/Subclass, a monetary recovery of the price premium Plaintiff and consumers
                                                                                                                         24   overpaid for a Product that should, but fails to, comport with the Challenged
                                                                                                                         25   Representation (which may include, for example, damages, restitution, disgorgement,
                                                                                                                         26   and/or any applicable penalties, fines, or punitive/exemplary damages) solely to the
                                                                                                                         27   extent that the causes of action pled herein permit such recovery. Two, Plaintiff seeks,
                                                                                                                         28   on his individual behalf and on behalf of the Class/Subclass, injunctive relief to stop
                                                                                                                                                                     2
                                                                                                                                                          CLASS ACTION 2COMPLAINT
      Case 2:24-cv-09557    Document 1     Filed 11/05/24   Page 3 of 40 Page ID #:3




 1
 2   Challenged Representation to avoid or mitigate the risk of deceiving the public into
 3   believing that the Product conforms to the Challenged Representation, by requiring
 4   Defendant to change its business practices, which may include one or more of the
 5   following: removal or modification of the Challenged Representation from the
 6
 7
 8   ingredients or its sourcing and manufacturing processes, and/or discontinuance of the
 9
10         4.   A true and correct copy of the Product label is pictured below.
11
12   Figure 1                        -
13

14

15
16

17

18
19

20
21

22

23
24

25
26

27

28

                                           3
                                CLASS ACTION 3COMPLAINT
                                                                                                                               Case 2:24-cv-09557       Document 1      Filed 11/05/24    Page 4 of 40 Page ID #:4




                                                                                                                          1
                                                                                                                          2

                                                                                                                          3
                                                                                                                          4
                                                                                                                          5

                                                                                                                          6
                                                                                                                          7
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9
                                                                                                                         10

                                                                                                                         11
                                                                                                                         12

                                                                                                                         13

                                                                                                                         14

                                                                                                                         15
                                                                                                                         16

                                                                                                                         17

                                                                                                                         18
                                                                                                                                                           JURISDICTION AND VENUE
                                                                                                                         19
                                                                                                                                     5.    This Court has subject matter jurisdiction of this action pursuant to 28
                                                                                                                         20
                                                                                                                              U.S.C. § 1332 and the Class Action Fairness Act of 2005 because: (i) there are 100
                                                                                                                         21
                                                                                                                              or more class members, (ii) there is an aggregate amount in controversy exceeding
                                                                                                                         22
                                                                                                                              $5,000,000, exclusive of interest and costs, and (iii) there is minimal diversity because
                                                                                                                         23
                                                                                                                              at least one plaintiff and defendant are citizens of different states. This Court has
                                                                                                                         24
                                                                                                                              supplemental jurisdiction over any state law claims pursuant to 28 U.S.C. § 1367.
                                                                                                                         25
                                                                                                                                     6.    Venue is proper in this District under 28 U.S.C. § 1391, because a
                                                                                                                         26
                                                                                                                              substantial part of the events, omissions, and acts giving rise to the claims herein
                                                                                                                         27
                                                                                                                              occurred in this District. Plaintiff is a citizen of California who resides in this District.
                                                                                                                         28
                                                                                                                              Plaintiff purchased the Product in this District. Defendant has deliberately marketed,
                                                                                                                                                                       4
                                                                                                                                                            CLASS ACTION 4COMPLAINT
                                                                                                                               Case 2:24-cv-09557     Document 1     Filed 11/05/24   Page 5 of 40 Page ID #:5




                                                                                                                          1   advertised, and sold the Products within this District. Defendant receives substantial
                                                                                                                          2   compensation from sales in this District.
                                                                                                                          3          7.   Defendant is subject to personal jurisdiction in California based upon
                                                                                                                          4   sufficient minimum contacts which exist between Defendant and California.
                                                                                                                          5   Defendant is authorized to do and is doing business in California.
                                                                                                                          6                                          PARTIES
                                                                                                                          7          8.   Plaintiff: Plaintiff is, and at all times relevant hereto was, a citizen of
                                                                                                                          8   California. Plaintiff purchased the                      -
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   Petco location in Los Angeles in July of 2024. In making his purchase, Plaintiff relied
                                                                                                                         10   upon                  labeling and advertising claims, namely, the Plant-Based
                                                                                                                         11   Representation label clearly printed on the front of the Product. These claims were
                                                                                                                         12   prepared and approved by Defendant and its agents and disseminated statewide and
                                                                                                                         13   nationwide, to encourage consumers to purchase the Product. If Plaintiff had known
                                                                                                                         14   that the Product contained ingredients that are non-plant-based, unnatural, synthetic,
                                                                                                                         15   artificial, and/or highly processed, then Plaintiff would not have purchased the
                                                                                                                         16   Product, or he would have purchased it at a substantially lower price.
                                                                                                                         17          9.                                Plaintiff would like to purchase the Product
                                                                                                                         18   again only if he can be sure that Defendant is compliant with the state consumer
                                                                                                                         19   protection laws. Plaintiff continues to see             Product in stores available for
                                                                                                                         20   purchase, and desires to purchase it again if the representations regarding the Plant-
                                                                                                                         21   Based Representation was in fact true. Since Plaintiff would like to purchase the
                                                                                                                         22   Product again to obtain a pet product that, as advertised, is truly plant-based and
                                                                                                                         23   therefore does not contain non-pant-based, unnatural, synthetic, artificial, and/or
                                                                                                                         24   highly processed ingredients, Plaintiff would purchase it again in the future despite
                                                                                                                         25   the fact that it was once marred by false advertising or labeling    as Plaintiff would
                                                                                                                         26   reasonably, but incorrectly, assume the Product was improved (no longer contains
                                                                                                                         27   non-plant-based, synthetic, artificial, and/or highly processed ingredients). In that
                                                                                                                         28   regard, Plaintiff is an average consumer who is not sophisticated in the chemistry,
                                                                                                                                                                     5
                                                                                                                                                          CLASS ACTION 5COMPLAINT
                                                                                                                                  Case 2:24-cv-09557    Document 1       Filed 11/05/24    Page 6 of 40 Page ID #:6




                                                                                                                          1   manufacturing, and formulation of pet products, such as the Product. Neither Plaintiff,
                                                                                                                          2   nor reasonable consumers, have the requisite knowledge to accurately differentiate
                                                                                                                          3                                         plant-based
                                                                                                                          4   particularly those non-plant-based ingredients identified infra. Accordingly, Plaintiff
                                                                                                                          5   is at risk of reasonably, but incorrectly, assuming that Defendant fixed the formulation
                                                                                                                          6   of the Product such that Plaintiff may buy it again, believing it to no longer be falsely
                                                                                                                          7   advertised. Plaintiff is, therefore, currently and in the future deprived of the ability to
                                                                                                                          8   rely on the Challenged Representation. Based on information and belief, the labeling
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   of the Product purchased by Plaintiff is typical of the labeling of the Product
                                                                                                                         10   purchased by members of the class.
                                                                                                                         11           10. Defendant: 9199-4467 Québec Inc. d/b/a Earth Rated is a Canadian
                                                                                                                         12   corporation with its principal business at 8500 Decarie Blvd., 7th Floor, Mont-Royal,
                                                                                                                         13   Québec, H4P 2N2, Canada. Defendant directly and through its agents, has substantial
                                                                                                                         14   contacts with and receives substantial benefits and income from and through the State
                                                                                                                         15   of California. Defendant is the owner, manufacturer, and distributor of the Product,
                                                                                                                         16   and is the company that created and/or authorized the false, misleading, and deceptive
                                                                                                                         17   packaging of the Product.
                                                                                                                         18                                  FACTUAL ALLEGATIONS
                                                                                                                         19   A.      Plant-Based Market
                                                                                                                         20           11. Consumers value plant-based products for numerous reasons, including
                                                                                                                         21   perceived benefits of avoiding diseases, attaining health and wellness, helping the
                                                                                                                         22   environment, assisting local farmers, assisting factory workers who would otherwise
                                                                                                                         23   be exposed to synthetic and hazardous substances, and financially supporting the
                                                                                                                         24   companies that share these values.1                                                    -based
                                                                                                                         25   products, many companies, including Defendant, have scrambled to manufacture,
                                                                                                                         26                                          -        products in an effort to gain market share.
                                                                                                                         27

                                                                                                                         28   1
                                                                                                                                      See generally Plant-Based Personal Care Products, Eternal Spiral Books (Nov. 24, 2018),
                                                                                                                              https://eternalspiralbooks.com/plant-based-personal-care-products/ (last accessed 11/04/2024).
                                                                                                                                                                              6
                                                                                                                                                               CLASS ACTION 6COMPLAINT
                                                                                                                                  Case 2:24-cv-09557       Document 1     Filed 11/05/24      Page 7 of 40 Page ID #:7




                                                                                                                          1   Unfortunately, rather than creating the natural, plant-based products consumers
                                                                                                                          2   desire, Defendant has                                        Product and market it through
                                                                                                                          3   deceptive labeling and advertising to convince consumers the Product is plant-based
                                                                                                                          4   and natural when, in reality, it contains synthetic and highly processed ingredients.
                                                                                                                          5           12. FTC Guidelines. In response to frequent and pervasive greenwashing,
                                                                                                                          6                                                          FTC
                                                                                                                          7   help companies avoid making misleading and deceptive claims. 2 As relevant here,
                                                                                                                          8   the FTC stated:
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9
                                                                                                                         10

                                                                                                                         11           plant-based in the context of its advertisements.3
                                                                                                                         12   16 C.F.R. § 260          Guides for the Use of Environmental Marketing Claims, p. 246,
                                                                                                                         13   available at https://www.ftc.gov/sites/default/files/attachments/press-releases/ftc-
                                                                                                                         14   issues-revised-green-guides/greenguidesstatement.pdf                (emphasis   added).     Here,
                                                                                                                         15   Defendant disre                                                 -
                                                                                                                         16   manufacture the Product with ingredients that are neither water nor plant, and at times
                                                                                                                         17   entirely artificial, synthetic, or substantially processed. Thus, Defendant did not fulfill
                                                                                                                         18   its responsibility                                                                                -
                                                                                                                         19

                                                                                                                         20                        -         Product only contains water or plant ingredients that have
                                                                                                                         21   not undergone substantial processing.
                                                                                                                         22           13.                                                                         plant-based
                                                                                                                         23   products, and believe it is important that products are plant-based.
                                                                                                                         24           14. Similar to a desire for a more expensive brand, consumers associate
                                                                                                                         25   products                  plant-based                                     products were shown
                                                                                                                         26

                                                                                                                         27   2
                                                                                                                                     See generally 16 C.F.R. § 260 Guides for the Use of Environmental Marketing Claims.
                                                                                                                              3
                                                                                                                                     See 16 C.F.R. § 260 Guides for the Use of Environmental Marketing Claims, p. 246,
                                                                                                                         28   available at https://www.ftc.gov/sites/default/files/attachments/press-releases/ftc-issues-revised-
                                                                                                                              green-guides/greenguidesstatement.pdf (emphasis added).
                                                                                                                                                                              7
                                                                                                                                                             CLASS ACTION 7COMPLAINT
                                                                                                                               Case 2:24-cv-09557      Document 1      Filed 11/05/24     Page 8 of 40 Page ID #:8




                                                                                                                          1                                                     plant-based
                                                                                                                          2                                 plant-based
                                                                                                                          3                                                    plant-based
                                                                                                                          4         15. However, consumers are not scientists. They do not understand the
                                                                                                                          5   manufacturing process, and are not well-versed in the processes involved in obtaining,
                                                                                                                          6   synthesizing, or preparing various products and their ingredients.
                                                                                                                          7         16. Consumers rely on the manufacturers to honestly label the products.
                                                                                                                          8                            plant-based                                 products to be fully
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   plant-based, and not containing any non-plant-based ingredients whether synthetic,
                                                                                                                         10   processed, chemically altered, or otherwise unnatural.
                                                                                                                         11         17. Consumers rely on the corporate America (and here, on Defendant) to
                                                                                                                         12   honestly label the products                          plant-based products, reasonably
                                                                                                                         13   believing the front labels to be truthful.
                                                                                                                         14         18.                                                 The Challenged Representation,
                                                                                                                         15
                                                                                                                         16   lead reasonable consumers, like Plaintiff, into believing that the Products conform to
                                                                                                                         17   the Challenged Representation. More specifically, reasonable consumers interpret the
                                                                                                                         18   Challenged Representation                                            -          meaning,
                                                                                                                         19   they only contain natural plant and water ingredients, to the exclusion of artificial and
                                                                                                                         20   synthetic ingredients. A
                                                                                                                         21                                                                                           -
                                                                                                                         22   based and are truthfully labeled. See Williams v. Gerber Prods. Co., 552 F.3d 934,
                                                                                                                         23   938 (9th Cir. 2008) (citing Kasky v. Nike, Inc., 27 Cal.4th 939, 951 (2002) and Leoni
                                                                                                                         24   v. State Bar, 39 Cal. 3d 609, 626 (1985)) (The California Supreme Court has
                                                                                                                         25
                                                                                                                         26   false, but also advertising which, although true, is either actually misleading or which
                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                       8
                                                                                                                                                            CLASS ACTION 8COMPLAINT
                                                                                                                                  Case 2:24-cv-09557      Document 1       Filed 11/05/24       Page 9 of 40 Page ID #:9




                                                                                                                          1           19.
                                                                                                                          2   is consistent with their ordinary and common usage, as defined by dictionaries, and
                                                                                                                          3   the regulatory definition of artificial:
                                                                                                                          4             a. Plant-Based Definition:
                                                                                                                                              i. Merriam-Webster Dictionary Definition: Plant-Based
                                                                                                                          5
                                                                                                                                                                                                                             4
                                                                                                                          6
                                                                                                                                               ii. Cambridge Dictionary Definition: Plant-Based
                                                                                                                                                                                     5
                                                                                                                          7
                                                                                                                                              iii. Dictionary.com Definition: Plant-Based
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                                                            6
                                                                                                                          9
                                                                                                                                              iv. Oxford Learners Dictionary Definition.
                                                                                                                         10
                                                                                                                                                             7
                                                                                                                         11
                                                                                                                                        b. Artificial Definitions:
                                                                                                                         12                   i. Merriam-Webster Dictionary Definition: Artificial.
                                                                                                                                                                               8
                                                                                                                                                                     -
                                                                                                                         13                                                                                                       9
                                                                                                                                             ii. Cambridge Dictionary Definition: Artificial.
                                                                                                                         14                 iii. Dictionary.com Definition: Artificial.
                                                                                                                         15
                                                                                                                                                                                     10
                                                                                                                         16                   iv.
                                                                                                                                                                                           11
                                                                                                                         17

                                                                                                                         18
                                                                                                                         19
                                                                                                                              4
                                                                                                                                      Merriam-Webster.com, plant-based, available at https://www.merriam
                                                                                                                         20   webster.com/dictionary/plant-based (last accessed 11/04/2024).
                                                                                                                              5
                                                                                                                                      Cambridge Dictionary, plant-based, available at
                                                                                                                         21   https://dictionary.cambridge.org/us/dictionary/english/plant-based (last accessed 11/04/2024).
                                                                                                                              6
                                                                                                                         22           Dictionary.com, plant-based, available at https://www.dictionary.com/browse/plant-based
                                                                                                                              (last accessed 11/04/2024).
                                                                                                                              7
                                                                                                                         23           Oxford                                 -based,
                                                                                                                              https://www.oxfordlearnersdictionaries.com/us/definition/english/plant-based?q=plant-based (last
                                                                                                                         24   accessed 11/04/2024).
                                                                                                                              8
                                                                                                                                      Merriam-Webster.com,           artificial,     available        at      https://www.merriam-
                                                                                                                         25   webster.com/dictionary/artificial (last accessed 11/04/2024).
                                                                                                                              9
                                                                                                                                      Cambridge              Dictionary,              artificial,            available           at
                                                                                                                         26   https://dictionary.cambridge.org/us/dictionary/english/artificial (last accessed 11/04/2024).
                                                                                                                              10
                                                                                                                                      Dictionary.com, artificial, available at https://www.dictionary.com/browse/artificial (last
                                                                                                                         27   accessed 11/04/2024).
                                                                                                                              11
                                                                                                                                                                                               artificial,       available       at
                                                                                                                         28   https://www.oxfordlearnersdictionaries.com/definition/english/artificial#:~:text=artificial%20mad
                                                                                                                              e%20or%20produced%20to,artificial%20light (last accessed 11/04/2024).
                                                                                                                                                                                  9
                                                                                                                                                               CLASS ACTION 9COMPLAINT
                                                                                                                              Case 2:24-cv-09557        Document 1        Filed 11/05/24     Page 10 of 40 Page ID #:10




                                                                                                                                               v.
                                                                                                                          1
                                                                                                                          2

                                                                                                                          3             c. Synthetic Definitions:
                                                                                                                          4                     i. Merriam-Webster Dictionary Definition: Synthetic.                 he term
                                                                                                                          5                         by a chemical process or by a process that chemically changes a
                                                                                                                                                    substance extracted from naturally occurring plant, animal, or
                                                                                                                          6                                               12

                                                                                                                          7                    ii. Cambridge Dictionary Definition: Synthetic.
                                                                                                                                                                               13
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                              iii. Dictionary.com Definition: Synthetic.
                                                                                                                          9                        compounds formed through a chemical process by human agency,
                                                                                                                         10

                                                                                                                         11                                                                              oduced artificially,
                                                                                                                                                                                                                          14
                                                                                                                                                    especially in a laboratory or other man-
                                                                                                                         12                   iv.
                                                                                                                                                    made by combining chemical substances rather than being
                                                                                                                         13                                                                         15

                                                                                                                         14
                                                                                                                                        d. Man-Made Definitions:
                                                                                                                         15
                                                                                                                                                i. Merriam-Webster Dictionary Definition: Man-Made.
                                                                                                                         16
                                                                                                                                                                             16
                                                                                                                                                   specifically:
                                                                                                                         17                    ii. Cambridge Dictionary Definition: Man-Made.
                                                                                                                         18
                                                                                                                                                                          17
                                                                                                                         19
                                                                                                                                              iii. Dictionary.com Definition: Man-Made.
                                                                                                                         20
                                                                                                                                                                                                                        18
                                                                                                                         21

                                                                                                                         22   12
                                                                                                                                      7 U.S.C. § 6502 (21).
                                                                                                                              13
                                                                                                                                      Cambridge              Dictionary,              synthetic,            available            at
                                                                                                                         23   https://dictionary.cambridge.org/dictionary/english/synthetic (last accessed 11/04/2024).
                                                                                                                              14
                                                                                                                                      Dictionary.com, artificial, available at https://www.dictionary.com/browse/synthetic (last
                                                                                                                         24   accessed 11/04/2024).
                                                                                                                              15
                                                                                                                                                                                                    synthetic,      available    at
                                                                                                                         25   https://www.oxfordlearnersdictionaries.com/definition/english/synthetic_1?q=synthetic           (last
                                                                                                                              accessed 11/04/2024).
                                                                                                                         26   16
                                                                                                                                      Merriam-Webster.com,          man-made,         available      at      https://www.merriam-
                                                                                                                              webster.com/dictionary/man-made (last accessed 11/04/2024).
                                                                                                                         27   17
                                                                                                                                      Cambridge              Dictionary,             man-made,              available            at
                                                                                                                              https://dictionary.cambridge.org/dictionary/english/man-made (last accessed 11/04/2024).
                                                                                                                         28   18
                                                                                                                                      Dictionary.com, man-made, available at https://www.dictionary.com/browse/man-made
                                                                                                                              (last accessed 11/04/2024).
                                                                                                                                                                               10
                                                                                                                                                               CLASS ACTION10     COMPLAINT
                                                                                                                              Case 2:24-cv-09557        Document 1      Filed 11/05/24      Page 11 of 40 Page ID #:11




                                                                                                                                              iv.                                                        -Made.
                                                                                                                          1                                               19

                                                                                                                          2          20. Accordingly, reasonable consumers, like Plaintiff, interpret the Plant-
                                                                                                                          3   Based Representations as claims that the Product contains no non-plant-based,
                                                                                                                          4   unnatural, artificial, and/or synthetic ingredients.
                                                                                                                          5          21. Falsity. The Challenged Representation is false and deceptive because
                                                                                                                          6   the Product contains numerous non-plant-based ingredients. Specifically, the Product
                                                                                                                          7   contains the following non-plant-based, unnatural, synthetic, and/or artificial
                                                                                                                          8   ingredients, in varying combinations:
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9
                                                                                                                                           Citric Acid is commercially produced using a multi-step chemical
                                                                                                                         10
                                                                                                                                           reaction and microbial fermentation process involving the bacteria
                                                                                                                         11                Aspergillus niger and glucose.20 Bacteria are prokaryotes, and not plants
                                                                                                                                           (which are composed of eukaryotic cells).21
                                                                                                                         12

                                                                                                                         13                Caprylyl Glycol is manufactured synthetically meaning it relies less on
                                                                                                                                           natural resources like palm and coconut oil.22
                                                                                                                         14

                                                                                                                         15                Glycerin is synthetic, produced by the hydrogenolysis of carbohydrates.
                                                                                                                                           Hydrogenolysis is the chemical reaction whereby a carbon-carbon
                                                                                                                         16
                                                                                                                                           or carbon-heteroatom single bond is cleaved or undergoes lysis
                                                                                                                         17                by hydrogen.23
                                                                                                                         18
                                                                                                                         19

                                                                                                                         20   19
                                                                                                                                                                                          man-made,          available        at
                                                                                                                              https://www.oxfordlearnersdictionaries.com/definition/english/man-made?q=man-made            (last
                                                                                                                         21   accessed 11/04/2024).
                                                                                                                              20
                                                                                                                                      All, et al. Overview of Citric Acid Production from Aspergillus Niger. Taylor &amp;
                                                                                                                         22
                                                                                                                              Francis, https://www.tandfonline.com/doi/full/10.1080/21553769.2015.1033653. (last accessed
                                                                                                                         23   11/04/2024).
                                                                                                                              21
                                                                                                                                      Prokaryotes:       Bacteria       &amp;         Archaea.       Organismal        Biology,
                                                                                                                         24   https://organismalbio.biosci.gatech.edu/biodiversity/prokaryotes-bacteria-archaea-2/.        (last
                                                                                                                              accessed 11/04/2024).
                                                                                                                         25   22

                                                                                                                              Definitely Know                                                                             -
                                                                                                                         26
                                                                                                                              glycol-the-ultimate-skincare-ingredient-you-should-definitely-know-about. (last accessed
                                                                                                                         27   11/04/2024).
                                                                                                                              23
                                                                                                                                      Glycerin Produced          by        Hydrolysis       of     Fats         and    Oils.
                                                                                                                         28   https://www.ams.usda.gov/sites/default/files/media/Glycerin%20Petition%20to%20remove%20T
                                                                                                                              R%202013.pdf. (last accessed 11/04/2024).
                                                                                                                                                                             11
                                                                                                                                                              CLASS ACTION11    COMPLAINT
                                                                                                                              Case 2:24-cv-09557     Document 1      Filed 11/05/24   Page 12 of 40 Page ID #:12




                                                                                                                          1               Propylene Glycol is a synthetic, water-absorbent, substance which has
                                                                                                                                          many uses including being an anti-freeze and being used to make
                                                                                                                          2               polyester compounds.24 It is made by undergoing chemical
                                                                                                                          3               transformation.25

                                                                                                                          4               Sodium Citrate is a trisodium salt of citric acid, which is synthetically
                                                                                                                          5
                                                                                                                                          C.F.R. § 205.605. According to 7 U.S.C. § 6502 (21), the term
                                                                                                                          6                                                                  manufactured by a
                                                                                                                          7               chemical process or by a process that chemically changes a substance
                                                                                                                                          extracted from naturally occurring plant, animal, or mineral
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9
                                                                                                                                          Tocopheryl Acetate is a synthetic, highly processed form of Vitamin E
                                                                                                                         10               manufactured using acetic acid.26
                                                                                                                         11         22. In addition to those ingredients that are not plant-based, the Product
                                                                                                                         12   contains numerous ingredients that have been subject to significant chemical
                                                                                                                         13                                                                                   , natural
                                                                                                                         14   or plant-based composition. Put differently, to create certain ingredients used in the
                                                                                                                         15   Product, natural and plant-based ingredients are subjected to substantial processing
                                                                                                                         16   such that the resulting ingredient used in the Product is an entirely new, synthetically-
                                                                                                                         17   created ingredient one that fundamentally differs from the original natural or plant-
                                                                                                                         18   based ingredient. Accordingly, the Challenged Representation is false, misleading,
                                                                                                                         19   and deceptive, and therefore unlawful.
                                                                                                                         20   ///
                                                                                                                         21   ///
                                                                                                                         22

                                                                                                                         23   24

                                                                                                                         24            https://wwwn.cdc.gov/TSP/PHS/PHS.aspx?phsid=1120&toxid=240#:~:text=Propylene%2
                                                                                                                              0glycol%20is%20a%20synthetic,lead%20to%20contact%20with%20food.
                                                                                                                         25   25
                                                                                                                                       https://corpusnaturals.com/blogs/natural-curious/plant-based-propylene-
                                                                                                                              glycol#:~:text=Raw%20material%20source%20matters.,from%20one%20chemical%20to%20ano
                                                                                                                         26
                                                                                                                              ther. (last accessed 11/04/2024).
                                                                                                                              26
                                                                                                                         27            Alpha-Tocopherol Acetate. National Center for Biotechnology Information. PubChem
                                                                                                                              Compound Database, U.S. National Library of Medicine,
                                                                                                                         28   https://pubchem.ncbi.nlm.nih.gov/compound/alpha-Tocopherol-acetate. (last accessed
                                                                                                                              11/04/2024).
                                                                                                                                                                                12
                                                                                                                                                                CLASS ACTION12     COMPLAINT
                                                                                                                              Case 2:24-cv-09557        Document 1       Filed 11/05/24      Page 13 of 40 Page ID #:13




                                                                                                                          1   B.     Defendant Misleads Plaintiff and Reasonable Consumers, Who Relied on
                                                                                                                          2          the Material and False Advertising Claims to their Detriment
                                                                                                                          3          23. Materiality. The Challenged Representation is material to reasonable
                                                                                                                          4   consumers, including Plaintiff, in deciding to buy the Product. Specifically, the
                                                                                                                          5   composition of the Product containing only plant-based ingredients is important to
                                                                                                                          6   consumers and motivates them to buy the Product.
                                                                                                                          7          24. Reliance. The Class, including Plaintiff, reasonably relied on the
                                                                                                                          8   Challenged Representation in deciding to purchase the Product.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9          25. Consumers Lack Knowledge of Falsity. Consumers, including Plaintiff,
                                                                                                                         10   do not know, and have no reason to know, at the time of purchase, that the Product s
                                                                                                                         11   Challenged Representation is false, misleading, deceptive, and unlawful. That is
                                                                                                                         12   because consumers, including Plaintiff, do not work for Defendant and therefore have
                                                                                                                         13   no personal knowledge of the actual ingredients used to make the Product or how
                                                                                                                         14   those ingredients are made, including whether non-plant-based ingredients are
                                                                                                                         15   included in the Product. Additionally, average consumers do not have the specialized
                                                                                                                         16   knowledge of a chemist or product-developer. Thus, reasonable consumers, like
                                                                                                                         17   Plaintiff, cannot discern from the Product s ingredient disclosures whether
                                                                                                                         18   ingredients, are plant-based. Furthermore, reasonable consumers, like Plaintiff, do not
                                                                                                                         19   ordinarily review information on the back or side panels of a consumer product s
                                                                                                                         20   packaging, like the Product s packaging, particularly dense, fine-print ingredient
                                                                                                                         21   disclosures, or review such information on websites. Indeed, studies show that only
                                                                                                                         22   approximately 7.7% to 11.6% of people even look at the side or back labels of
                                                                                                                         23   consumer goods, such as ingredient lists, before they buy it.27
                                                                                                                         24
                                                                                                                              27
                                                                                                                                       Grunert, Klaus, et. al, Nutrition knowledge, and use and understanding of nutrition
                                                                                                                         25   information on food labels among consumers in the UK, 55 Appetite 177, at 179-181 (2010)
                                                                                                                              available                                                                                         at
                                                                                                                         26
                                                                                                                              https://reader.elsevier.com/reader/sd/pii/S0195666310003661?token=95E4146C1BB7D7A7C9A4
                                                                                                                         27   87F22F0B445BD44499550086E04870765EBE116ED32DBFE3795E60B69C75831563CD1BC6
                                                                                                                              655A&originRegion=us-east-1&originCreation=20220720162546 (consumer purchasing behavior
                                                                                                                         28   study using in-store observation and interview data collection methodology to realistically estimate

                                                                                                                                                                         13
                                                                                                                                                              CLASS ACTION13COMPLAINT
                                                                                                                              Case 2:24-cv-09557         Document 1        Filed 11/05/24      Page 14 of 40 Page ID #:14




                                                                                                                          1          26. The average consumer spends generally not more than 13 seconds to
                                                                                                                          2   make an in-store purchasing decision.28 That decision is heavily based upon the
                                                                                                                          3
                                                                                                                          4   portion of the label and inspect in detail the rear label which depicts in small print the
                                                                                                                          5   ingredients.
                                                                                                                          6          27.                     Knowledge. Defendant knew, or should have known, that
                                                                                                                          7   the Challenged Representation was false, misleading, deceptive, and unlawful, at the
                                                                                                                          8   time that Defendant manufactured, marketed, advertised, labeled, and sold the
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   Product using the Challenged Representation to Plaintiff and the Class. Defendant
                                                                                                                         10   intentionally and deliberately used the Challenged Representation, alongside its
                                                                                                                         11
                                                                                                                         12
                                                                                                                              the degree consumers use nutritional information (found on side/back panels of food product labels
                                                                                                                         13   and packaging), finding: (1) only 11.6% of respondents, who looked at a product and placed it in
                                                                                                                              their shopping cart, were actually observed looking at the side/back panels of its packaging or
                                                                                                                         14   labels (panels other than the front panel) before placing it in the cart; (2) of those who looked at the
                                                                                                                         15   looked at the product, looked at side/back panels in detail)); and (3) the respondents self-reported
                                                                                                                         16   frequency of reviewing side/back panels (for nutritional information) is overreported by 50%
                                                                                                                              when the in-store interview data and observational data are compared); Grunert, Klaus, et. al, Use
                                                                                                                         17   and understanding of nutrition information on food labels in six European countries, 18(3) Journal
                                                                                                                              of      Public      Health      261,      261,      263,       266       (2010),    available      at
                                                                                                                         18   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2967247/ (last accessed July 20, 2022) (consumer
                                                                                                                              purchasing behavior study using in-store observation and interview data collection methodology to
                                                                                                                         19
                                                                                                                              evaluate whether people look at food labels before buying them, where they looked, and how long
                                                                                                                         20   they looked, finding: (1) respondents spent, on average, approximately 35 seconds, per product, on
                                                                                                                              products they bought; and (2) 62.6% of respondents looked at the front packaging, and only 7.7%
                                                                                                                         21   looked elsewhere (side/back panels) on the packaging, for products they bought); Benn, Yael, et
                                                                                                                              al., What information do consumers consider and how do they look for it, when shopping for
                                                                                                                         22   groceries      online,    89     Appetite     265,      265,      270      (2015),   available     at
                                                                                                                         23   https://www.sciencedirect.com/science/article/pii/S0195666315000422#bib0060 (last accessed
                                                                                                                              October 31, 2024) (consumer purchasing behavior study using online eye-movement tracking and
                                                                                                                         24   recordation, finding: (1) once on the product webpages, respondents tend to look at the pictures of
                                                                                                                              products, rather than examine detailed product information; and (2) by comparison to pictures of
                                                                                                                         25   products where 13.83-19.07% of respondents fixated, far less fixated on subsidiary information:
                                                                                                                              4.17% of respondents looked at nutrition information, 3.30% ingredients, 2.97% allergy
                                                                                                                         26
                                                                                                                              information, and 0.09% recycling information for example).
                                                                                                                              28
                                                                                                                         27           Randall Beard,                                    -Second Window, NIELSEN (Jan. 13, 2015),
                                                                                                                              https://www.nielsen.com/us/en/insights/article/2015/make-the-most-of-your-brands-20-second-
                                                                                                                         28   windown/ (citing                                             -Store and Online, EHRENBERG-BASS
                                                                                                                              INSTITUTE OF MARKETING SCIENCE (2015)) (last visited 11/04/2024).
                                                                                                                                                                               14
                                                                                                                                                               CLASS ACTION14     COMPLAINT
                                                                                                                              Case 2:24-cv-09557     Document 1     Filed 11/05/24   Page 15 of 40 Page ID #:15




                                                                                                                          1   massive marketing campaign and brand strategy, to cause Plaintiff and similarly
                                                                                                                          2   situated consumers to buy the Product believing that the Challenged Representation
                                                                                                                          3   is true.
                                                                                                                          4
                                                                                                                                         a. Knowledge of Falsity. Defendant marketed the Product with the
                                                                                                                          5                 Challenged Representation, but Defendant opted to formulate and
                                                                                                                                            manufacture them in a manner that does not conform to this
                                                                                                                          6                 representation. Specifically, Defendant advertised and labeled the
                                                                                                                                            Product with the Challenged Representation, but, instead of using only
                                                                                                                          7
                                                                                                                                            ingredients that are plant-based, Defendant chose to make the Product
                                                                                                                          8                 with numerous non-plant-based ingredients.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9              b.                                                                 Defendant
                                                                                                                                              knew, or should have known, that the Challenged Representation
                                                                                                                         10
                                                                                                                                              would lead reasonable consumers into believing that the Product was
                                                                                                                         11                   composed of only plant-based ingredients i.e., the Product does not
                                                                                                                                              contain ingredients that are not plant-based. Not only has Defendant
                                                                                                                         12                   labeled the Product with the Challenged Representation and executed
                                                                                                                                              a long-standing brand strategy and advertising campaign to identify
                                                                                                                         13                   the Product with the Challenged Representation, but Defendant also
                                                                                                                         14                   has an obligation under section 5 of the Federal Trade Commission
                                                                                                                                              Act, codified at 15 U.S.C. §§ 45, to evaluate its marketing claims from
                                                                                                                         15                   the perspective of the reasonable consumer. That means Defendant
                                                                                                                                              was statutorily obligated to consider whether the Challenged
                                                                                                                         16                   Representation, be it in isolation or conjunction with its marketing
                                                                                                                                              campaign, would mislead reasonable consumers into believing that the
                                                                                                                         17
                                                                                                                                              Product was made of only plant-based ingredients. Thus, Defendant
                                                                                                                         18                   either knew the Challenged Representation was misleading before it
                                                                                                                                              marketed the Product to the Class, including Plaintiff, or Defendant
                                                                                                                         19                   would have known that it was deceptive had Defendant complied with
                                                                                                                                              its statutory obligations.
                                                                                                                         20
                                                                                                                         21              c. Knowledge of Materiality. Defendant knew or should have known
                                                                                                                                            that the Challenged Representation is material to consumers. First,
                                                                                                                         22                 manufacturers and marketers, like Defendant, generally reserve the
                                                                                                                                            front primary display panel of labels on consumer products for the
                                                                                                                         23                 most important and persuasive information, which they believe will
                                                                                                                         24                 motivate consumers to buy the products. Here, the conspicuousness of
                                                                                                                                            the Challenged Representation on the Product s labels demonstrates
                                                                                                                         25                               awareness of its importance to consumers and
                                                                                                                                                        understanding that consumers prefer and are motivated to
                                                                                                                         26                 buy products that conform to the Challenged Representation. Second,
                                                                                                                                            manufacturers and marketers repeat marketing claims to emphasize
                                                                                                                         27

                                                                                                                         28                   expectations, because they believe those repeated messages will drive
                                                                                                                                              consumers to buy the Product. Here, the constant, unwavering use of
                                                                                                                                                                     15
                                                                                                                                                          CLASS ACTION15COMPLAINT
                                                                                                                              Case 2:24-cv-09557         Document 1     Filed 11/05/24   Page 16 of 40 Page ID #:16




                                                                                                                                                 the Challenged Representation on the Product, advertisements, and
                                                                                                                          1
                                                                                                                                                 throughout                marketing campaign, evidence
                                                                                                                          2                      awareness that the falsely advertised Product-attribute is important to
                                                                                                                                                 consumers. It also evidences                      intent to convince
                                                                                                                          3                      consumers that the Product conforms to the Challenged
                                                                                                                                                 Representation and, ultimately, drive sales.
                                                                                                                          4
                                                                                                                          5                   d. Defendant Continued Deception, Despite Its Knowledge.
                                                                                                                                                 Defendant, as the manufacturer and marketer of the Product, had
                                                                                                                          6
                                                                                                                                                 the Product s labels, and advertisements i.e., Defendant readily and
                                                                                                                          7                      easily could have stopped using the Challenged Representation to sell
                                                                                                                                                 the Product. However, despite                      knowledge of the
                                                                                                                          8                                                                             knowledge that
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                                 consumers reasonably rely on the Challenged Representation in
                                                                                                                          9                      deciding to buy the Product, Defendant deliberately chose to market
                                                                                                                                                 the Product with the Challenged Representation thereby misleading
                                                                                                                         10                      consumers into buying or otherwise overpaying for the Product. Thus,
                                                                                                                                                 Defendant knew, or should have known, at all relevant times, that the
                                                                                                                         11                      Challenged Representation misleads reasonable consumers, such as
                                                                                                                                                 Plaintiff, into buying the Product to attain the product-attributes that
                                                                                                                         12                      Defendant falsely advertised and warranted. Indeed, notwithstanding

                                                                                                                         13                      the Challenged Representation, Defendant has continued to market the
                                                                                                                                                 Product using the Challenged Representation.
                                                                                                                         14              28. By letter dated July 26, 2024, Plaintiff advised Defendant of its false and
                                                                                                                         15   misleading claims pursuant to California Civil Code Section 1782, subdivision (a)
                                                                                                                         16   regarding                   use of non-plant-based, unnatural and synthetic ingredients.
                                                                                                                         17   Plaintiff has provided Defendant with notice of its violations of the CLRA pursuant
                                                                                                                         18   to Civil Code § 1782(a).
                                                                                                                         19   C.     No Adequate Remedy at Law
                                                                                                                         20        29.        No Adequate Remedy at Law. Plaintiff and members of the Class are
                                                                                                                         21   entitled to equitable relief as no adequate remedy at law exists.
                                                                                                                         22
                                                                                                                                              a. Broader Statutes of Limitations. The statutes of limitations for the
                                                                                                                         23                      causes of action pled herein vary. The limitations period is four years
                                                                                                                                                 for claims brought under the UCL, which is one year longer than the
                                                                                                                         24
                                                                                                                                                 statutes of limitations under the FAL and CLRA. In addition, the
                                                                                                                         25                      statutes of lim
                                                                                                                                                 warranty and unjust enrichment/restitution, between approximately 2
                                                                                                                         26                      and 6 years. Thus, California Subclass members who purchased the
                                                                                                                                                 Product more than 3 years prior to the filing of the complaint will be
                                                                                                                         27                      barred from recovery if equitable relief were not permitted under the
                                                                                                                         28                      UCL. Similarly, Nationwide Class members who purchased the
                                                                                                                                                 Product prior to the furthest reach-back under the statute of limitations
                                                                                                                                                                         16
                                                                                                                                                              CLASS ACTION16COMPLAINT
                                                                                                                              Case 2:24-cv-09557   Document 1    Filed 11/05/24   Page 17 of 40 Page ID #:17




                                                                                                                                           for breach of warranty, will be barred from recovery if equitable relief
                                                                                                                          1
                                                                                                                                           were not permitted for restitution/unjust enrichment.
                                                                                                                          2
                                                                                                                                        b. Broader Scope of Conduct. In addition, the scope of actionable
                                                                                                                          3                misconduct under the unfair prong of the UCL is broader than the other
                                                                                                                                           causes of action asserted herein. It includes, for example,
                                                                                                                          4
                                                                                                                                           overall unfair marketing scheme to promote and brand the Product
                                                                                                                          5                with the Challenged Representation, across a multitude of media
                                                                                                                                           platforms, including the Product s labels, over a long period of time,
                                                                                                                          6                in order to gain an unfair advantage over competitor products and to
                                                                                                                                                                                   for products that comport with
                                                                                                                          7                the Challenged Representation. The UCL also creates a cause of action
                                                                                                                          8                for violations of law (such as statutory or regulatory requirements and
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                           court orders related to similar representation and omission made on
                                                                                                                          9                the type of products at issue). Thus, Plaintiff and Class members may
                                                                                                                                           be entitled to restitution under the UCL, while not entitled to damages
                                                                                                                         10                under other causes of action asserted herein (e.g., the FAL requires
                                                                                                                                           actual or constructive knowledge of the falsity; the CLRA is limited
                                                                                                                         11
                                                                                                                                           to certain types of plaintiff (an individual who seeks or acquires, by
                                                                                                                         12                purchase or lease, any goods or services for personal, family, or
                                                                                                                                           household purposes) and other statutorily enumerated conduct).
                                                                                                                         13                Similarly, unjust enrichment/restitution is broader than breach of
                                                                                                                                           warranty. For example, in some states, breach of warranty may
                                                                                                                         14                require privity of contract or pre-lawsuit notice, which are not
                                                                                                                         15                typically required to establish unjust enrichment/restitution. Thus,
                                                                                                                                           Plaintiff and Class members may be entitled to recover under unjust
                                                                                                                         16                enrichment/restitution, while not entitled to damages under breach of
                                                                                                                                           warranty, because they purchased the products from third-party
                                                                                                                         17                retailers or did not provide adequate notice of a breach prior to the
                                                                                                                                           commencement of this action.
                                                                                                                         18
                                                                                                                         19             c. Injunctive Relief to Cease Misconduct and Dispel Misperception.
                                                                                                                                           Injunctive relief is appropriate on behalf of Plaintiff and members of
                                                                                                                         20                the Class because Defendant continues to misrepresent the Product
                                                                                                                                           with the Challenged Representation. Injunctive relief is necessary to
                                                                                                                         21
                                                                                                                                           prevent Defendant from continuing to engage in the unfair, fraudulent,
                                                                                                                         22                and/or unlawful conduct described herein and to prevent future
                                                                                                                                           harm none of which can be achieved through available legal
                                                                                                                         23                remedies (such as monetary damages to compensate past harm).
                                                                                                                                           Further, injunctive relief, in the form of affirmative disclosures is
                                                                                                                         24                necessary to dispel the public misperception about the Product that has
                                                                                                                         25                resulted from years of                unfair, fraudulent, and unlawful
                                                                                                                                           marketing efforts. Such disclosures would include, but are not limited
                                                                                                                         26                to, publicly disseminated statements that the Product s Challenged
                                                                                                                                           Representation is not true and providing accurate information about
                                                                                                                         27                the Product s true nature; and/or requiring prominent qualifications
                                                                                                                                           and/or disclaimers on the Product s front label concerning the
                                                                                                                         28
                                                                                                                                           Product s true nature. An injunction requiring affirmative disclosures
                                                                                                                                                                   17
                                                                                                                                                        CLASS ACTION17COMPLAINT
                                                                                                                              Case 2:24-cv-09557    Document 1      Filed 11/05/24    Page 18 of 40 Page ID #:18




                                                                                                                          1
                                                                                                                                             and repeat purchases based thereon, is also not available through a
                                                                                                                          2                  legal remedy (such as monetary damages). In addition, Plaintiff is
                                                                                                                                             currently unable to accurately quantify the damages caused by
                                                                                                                          3
                                                                                                                                             investigation have not yet completed, rendering injunctive relief all the
                                                                                                                          4                  more necessary. For example, because the court has not yet certified
                                                                                                                          5                  any class, the following remains unknown: the scope of the class, the
                                                                                                                                             identities of its members, their respective purchasing practices, prices
                                                                                                                          6                  of past/future Product sales, and quantities of past/future Product sales.
                                                                                                                          7              d. Public Injunction.
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                                                                               .
                                                                                                                          9
                                                                                                                                         e. California vs. Nationwide Class Claims. Violation of the UCL, FAL,
                                                                                                                         10                 and CLRA are claims asserted on behalf of Plaintiff and the California
                                                                                                                         11                 Subclass against Defendant, while breach of warranty and unjust
                                                                                                                                            enrichment/restitution are asserted on behalf of Plaintiff and the
                                                                                                                         12                 Nationwide Class. Dismissal of farther-reaching claims, such as
                                                                                                                                            restitution, would bar recovery for non-California members of the
                                                                                                                         13                 Class. In other words, legal remedies available or adequate under the
                                                                                                                                            California-specific causes of action (such as the UCL, FAL, and
                                                                                                                         14

                                                                                                                         15                  relief under the remaining causes of action asserted on behalf of non-
                                                                                                                                             California putative class members.
                                                                                                                         16
                                                                                                                                                            CLASS ALLEGATIONS
                                                                                                                         17
                                                                                                                                    30. Class Definition. Plaintiff brings this action as a class action pursuant to
                                                                                                                         18
                                                                                                                              Federal Rules of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of himself and all
                                                                                                                         19
                                                                                                                              others similarly situated, and as members of the Classes defined as follows:
                                                                                                                         20
                                                                                                                         21              All persons or entities that, within the applicable statute of
                                                                                                                                         limitations periods, purchased the Product in the United States,
                                                                                                                         22              displaying the Challenged Representation on the Product
                                                                                                                         23                                              Nationwide Class

                                                                                                                         24              All persons or entities that, within four years prior to the filing of
                                                                                                                                         this Complaint through present, purchased the Product in
                                                                                                                         25              California, displaying the Challenged Representation on the
                                                                                                                                         Product                                                   California
                                                                                                                         26              Subclass
                                                                                                                         27                                                                     Class
                                                                                                                         28

                                                                                                                                                                     18
                                                                                                                                                          CLASS ACTION18COMPLAINT
                                                                                                                              Case 2:24-cv-09557     Document 1      Filed 11/05/24   Page 19 of 40 Page ID #:19




                                                                                                                          1         31. Class Definition Exclusions. Excluded from the Class are: (i) Defendant,
                                                                                                                          2   its assigns, successors, and legal representatives; (ii) any entities in which Defendant
                                                                                                                          3   has controlling interests; (iii) federal, state, and/or local governments, including, but
                                                                                                                          4   not limited to, their departments, agencies, divisions, bureaus, boards, sections,
                                                                                                                          5   groups, counsels, and/or subdivisions; and (iv) any judicial officer presiding over this
                                                                                                                          6   matter and person within the third degree of consanguinity to such judicial officer.
                                                                                                                          7         32. Reservation of Rights to Amend the Class Definition. Plaintiff reserves
                                                                                                                          8   the right to amend or otherwise alter the class definitions presented to the Court at the
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   appropriate time in response to facts learned through discovery, legal arguments
                                                                                                                         10   advanced by Defendant, or otherwise.
                                                                                                                         11         33. Numerosity: Members of the Class are so numerous that joinder of all
                                                                                                                         12   members is impracticable. Upon information and belief, the Nationwide Class
                                                                                                                         13   consists of tens of thousands of purchasers (if not more) dispersed throughout the
                                                                                                                         14   United States, and the California Subclass likewise consists of thousands of
                                                                                                                         15   purchasers (if not more) dispersed throughout the State of California. Accordingly, it
                                                                                                                         16   would be impracticable to join all members of the Class before the Court.
                                                                                                                         17         34. Common Questions Predominate: There are numerous and substantial
                                                                                                                         18   questions of law or fact common to all members of the Class that predominate over
                                                                                                                         19   any individual issues. Included within the common questions of law or fact are:
                                                                                                                         20
                                                                                                                                   a.     Whether Defendant engaged in unlawful, unfair or deceptive business
                                                                                                                         21
                                                                                                                                          practices by advertising and selling the Product;
                                                                                                                         22
                                                                                                                                   b.     Whether               conduct of advertising and selling the Product as
                                                                                                                         23               only containing plant-based ingredients, creating the reasonable
                                                                                                                                          assumption that the Product does not contain any non-plant-based
                                                                                                                         24               ingredients, when the Product contains some combination of non-plant-
                                                                                                                         25               based ingredients, constitutes an unfair method of competition, or unfair
                                                                                                                                          or deceptive act or practice, in violation of Civil Code section 1750, et
                                                                                                                         26               seq.;
                                                                                                                         27        c.     Whether Defendant used deceptive representation in connection with the
                                                                                                                                          sale of the Product in violation of Civil Code section 1750, et seq.;
                                                                                                                         28

                                                                                                                                                                      19
                                                                                                                                                           CLASS ACTION19COMPLAINT
                                                                                                                              Case 2:24-cv-09557        Document 1   Filed 11/05/24   Page 20 of 40 Page ID #:20




                                                                                                                                   d.     Whether Defendant represented that the Product has characteristics or
                                                                                                                          1
                                                                                                                                          quantities that it does not have in violation of Civil Code section 1750, et
                                                                                                                          2               seq.;
                                                                                                                          3        e.     Whether Defendant advertised the Product with intent not to sell it as
                                                                                                                                          advertised in violation of Civil Code section 1750, et seq.;
                                                                                                                          4
                                                                                                                          5        f.     Whether               labeling and advertising of the Product is untrue or
                                                                                                                                          misleading in violation of Business and Professions Code section 17500,
                                                                                                                          6               et seq.;
                                                                                                                          7        g.     Whether Defendant knew or by the exercise of reasonable care should
                                                                                                                                          have known its labeling and advertising was and is untrue or misleading
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                          in violation of Business and Professions Code section 17500, et seq.;
                                                                                                                          9
                                                                                                                                   h.     Whether              conduct is an unfair business practice within the
                                                                                                                         10               meaning of Business and Professions Code section 17200, et seq.;
                                                                                                                         11        i.     Whether             conduct is a fraudulent business practice within the
                                                                                                                         12               meaning of Business and Professions Code section 17200, et seq.;

                                                                                                                         13        j.     Whether              conduct is an unlawful business practice within the
                                                                                                                                          meaning of Business and Professions Code section 17200, et seq.;
                                                                                                                         14
                                                                                                                                   k.     Whether Plaintiff and the Class paid more money for the Product than
                                                                                                                         15
                                                                                                                                          they actually received;
                                                                                                                         16
                                                                                                                                   l.     How much more money Plaintiff and the Class paid for the Product than
                                                                                                                         17               they actually received;
                                                                                                                         18        m.     Whether                conduct constitutes breach of warranty;
                                                                                                                         19
                                                                                                                                   n.     Whether Plaintiff and the Class are entitled to injunctive relief; and
                                                                                                                         20
                                                                                                                                   o.     Whether Defendant was unjustly enriched by its unlawful conduct.
                                                                                                                         21

                                                                                                                         22
                                                                                                                                    35. Typicality
                                                                                                                         23
                                                                                                                              Members he seeks to represent because Plaintiff, like the Class Members, purchased
                                                                                                                         24
                                                                                                                                           misleading and deceptive Product.                 unlawful, unfair and/or
                                                                                                                         25
                                                                                                                              fraudulent actions concern the same business practices described herein irrespective
                                                                                                                         26
                                                                                                                              of where they occurred or were experienced. Plaintiff and the Class sustained similar
                                                                                                                         27
                                                                                                                              injuries arising out of
                                                                                                                         28

                                                                                                                                                                       20
                                                                                                                                                            CLASS ACTION20COMPLAINT
                                                                                                                              Case 2:24-cv-09557       Document 1     Filed 11/05/24   Page 21 of 40 Page ID #:21




                                                                                                                          1   arise from the same practices and course of conduct and are based on the same legal
                                                                                                                          2   theories.
                                                                                                                          3            36. Adequacy: Plaintiff is an adequate representative of the Class he seeks to
                                                                                                                          4   represent because his interests do not conflict with the interests of the Class Members
                                                                                                                          5   Plaintiff seeks to represent. Plaintiff will fairly and adequately protect Class
                                                                                                                          6
                                                                                                                          7   prosecution of complex class actions, including complex questions that arise in
                                                                                                                          8   consumer protection litigation.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9            37. Superiority and Substantial Benefit: A class action is superior to other
                                                                                                                         10   methods for the fair and efficient adjudication of this controversy, since individual
                                                                                                                         11   joinder of all members of the Class is impracticable and no other group method of
                                                                                                                         12   adjudication of all claims asserted herein is more efficient and manageable for at least
                                                                                                                         13   the following reasons:
                                                                                                                         14        a.       The claims presented in this case predominate over any questions of law
                                                                                                                         15                 or fact, if any exist at all, affecting any individual member of the Class;

                                                                                                                         16        b.       Absent a Class, the members of the Class will continue to suffer damage
                                                                                                                                            and               unlawful conduct will continue without remedy while
                                                                                                                         17                 Defendant profits from and enjoy its ill-gotten gains;
                                                                                                                         18
                                                                                                                                   c.
                                                                                                                         19                 Members could afford to or would seek legal redress individually for the
                                                                                                                                            wrongs Defendant committed against them, and absent Class Members
                                                                                                                         20                 have no substantial interest in individually controlling the prosecution of
                                                                                                                                            individual actions;
                                                                                                                         21

                                                                                                                         22        d.       When the liability of Defendant has been adjudicated, claims of all
                                                                                                                                            members of the Class can be administered efficiently and/or determined
                                                                                                                         23                 uniformly by the Court; and
                                                                                                                         24        e.       This action presents no difficulty that would impede its management by
                                                                                                                                            the Court as a class action, which is the best available means by which
                                                                                                                         25
                                                                                                                                            Plaintiff and Class Members can seek redress for the harm caused to them
                                                                                                                         26                 by Defendant.
                                                                                                                         27      38.        Inconsistent Rulings. Because Plaintiff seeks relief for all members of
                                                                                                                         28   the Class, the prosecution of separate actions by individual members would create a
                                                                                                                                                                       21
                                                                                                                                                            CLASS ACTION21COMPLAINT
                                                                                                                              Case 2:24-cv-09557       Document 1    Filed 11/05/24   Page 22 of 40 Page ID #:22




                                                                                                                          1   risk of inconsistent or varying adjudications with respect to individual members of
                                                                                                                          2   the Class, which would establish incompatible standards of conduct for Defendant.
                                                                                                                          3      39.        Injunctive/Equitable Relief. The prerequisites to maintaining a class
                                                                                                                          4   action for injunctive or equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) are met as
                                                                                                                          5   Defendant has acted or refused to act on grounds generally applicable to the Class,
                                                                                                                          6   thereby making appropriate final injunctive or equitable relief with respect to the
                                                                                                                          7   Class as a whole.
                                                                                                                          8      40.        Manageability.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   difficulties that are likely to be encountered in the management of this action that
                                                                                                                         10   would preclude its maintenance as a class action.
                                                                                                                         11                                         COUNT ONE
                                                                                                                         12                      Violation of California Unfair Competition Law
                                                                                                                         13                          (Cal. Bus. & Prof. Code §§ 17200, et seq.)
                                                                                                                         14                            (On Behalf of the California Subclass)
                                                                                                                         15            41. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                                                                         16   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                                                                         17            42. California Subclass. This cause of action is brought pursuant to Business
                                                                                                                         18   and Professions Code Section 17200, et seq., on behalf of Plaintiff and a California
                                                                                                                         19   Subclass who purchased the Product within the applicable statute of limitations.
                                                                                                                         20            43. The UCL. California Business & Professions Code, sections 17200, et
                                                                                                                         21   seq. (the           ) prohibits unfair competition and provides, in pertinent part, that
                                                                                                                         22

                                                                                                                         23
                                                                                                                         24            44. False Advertising Claims. Defendant, in its labeling and advertising of
                                                                                                                         25   the Product, made false and misleading statements and fraudulent omissions
                                                                                                                         26   regarding the quality and characteristics of the Product specifically, the Challenged
                                                                                                                         27   Representation (i.e., that the Product is composed of only plant-based ingredients)
                                                                                                                         28   despite the fact the Product also contains six non-plant-based, synthetic ingredients.
                                                                                                                                                                       22
                                                                                                                                                            CLASS ACTION22COMPLAINT
                                                                                                                              Case 2:24-cv-09557     Document 1     Filed 11/05/24      Page 23 of 40 Page ID #:23




                                                                                                                          1   Such claim and omission appear on the front labels of the Product, which is sold at
                                                                                                                          2   retail stores, point-of-purchase displays, and online.
                                                                                                                          3         45.                 Deliberately False and Fraudulent Marketing Scheme.
                                                                                                                          4   Defendant does not have any reasonable basis for the claims about the Product made
                                                                                                                          5   in               advertising and on                      labeling because the Product
                                                                                                                          6   ingredients are non-plant-based, unnatural, synthetic, and/or artificial. Defendant
                                                                                                                          7   knew and knows that the Product contains non-plant-based ingredients, yet Defendant
                                                                                                                          8   intentionally advertises and markets the Product to cause reasonable consumers to
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   believe that the Product is plant-based.
                                                                                                                         10         46. False Advertising Claims Cause Purchase of Product.
                                                                                                                         11   labeling and advertising of the Product led to, and continue to lead to, reasonable
                                                                                                                         12   consumers, including Plaintiff, believing that the Product contained only plant-based
                                                                                                                         13   ingredients, to the exclusion of non-plant-based, synthetic ingredients.
                                                                                                                         14         47. Injury In Fact. Plaintiff and the California Subclass have suffered injury
                                                                                                                         15   in fact and have lost money or property as a result of and in reliance upon
                                                                                                                         16   Challenged Representation      namely Plaintiff and the California Subclass lost the
                                                                                                                         17   purchase price for the Product they bought from the Defendant.
                                                                                                                         18         48. Conduct Violates the UCL.                          conduct, as alleged herein,
                                                                                                                         19   constitutes unfair, unlawful, and fraudulent business practices pursuant to the UCL.
                                                                                                                         20
                                                                                                                         21   competition shall mean and include unlawful, unfair or fraudulent business practices
                                                                                                                         22

                                                                                                                         23   17200. In addition,                 use of various forms of advertising media to
                                                                                                                         24   advertise, call attention to, or give publicity to the sale of goods or merchandise that
                                                                                                                         25   are not as represented in any manner constitutes unfair competition, unfair, deceptive,
                                                                                                                         26   untrue or misleading advertising, and an unlawful business practice within the
                                                                                                                         27   meaning of Business and Professions Code Sections 17200 and 17531, which
                                                                                                                         28

                                                                                                                                                                      23
                                                                                                                                                           CLASS ACTION23COMPLAINT
                                                                                                                              Case 2:24-cv-09557      Document 1     Filed 11/05/24   Page 24 of 40 Page ID #:24




                                                                                                                          1   advertisements have deceived and are likely to deceive the consuming public, in
                                                                                                                          2   violation of Business and Professions Code Section 17200.
                                                                                                                          3          49. No Reasonably Available Alternatives/Legitimate Business Interests.
                                                                                                                          4   Defendant failed to avail itself of reasonably available, lawful alternatives to further
                                                                                                                          5   its legitimate business interests.
                                                                                                                          6          50. Business Practice. All of the conduct alleged herein occurred and
                                                                                                                          7   continues to occur in                business.              wrongful conduct is part of
                                                                                                                          8   a pattern, practice and/or generalized course of conduct, which will continue on a
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   daily basis until Defendant voluntarily alters its conduct or Defendant is otherwise
                                                                                                                         10   ordered to do so.
                                                                                                                         11          51. Injunction. Pursuant to Business and Professions Code Sections 17203
                                                                                                                         12   and 17535, Plaintiff and the members of the California Subclass seek an order of this
                                                                                                                         13   Court enjoining Defendant from continuing to engage, use, or employ its practice of
                                                                                                                         14   labeling and advertising the sale and use of the Product. Likewise, Plaintiff and the
                                                                                                                         15   members of the California Subclass seek an order requiring Defendant to disclose
                                                                                                                         16   such misrepresentation, and to preclude                 failure to disclose the existence
                                                                                                                         17   and significance of said misrepresentation.
                                                                                                                         18          52. Causation/Damages. As a direct and proximate result of
                                                                                                                         19   misconduct in violation of the UCL, Plaintiff and members of the California Subclass
                                                                                                                         20   were harmed in the amount of the purchase price they paid for the Product. Further,
                                                                                                                         21   Plaintiff and members of the California Subclass have suffered and continue to suffer
                                                                                                                         22   economic losses and other damages including, but not limited to, the amounts paid
                                                                                                                         23   for the Product, and any interest that would have accrued on those monies, in an
                                                                                                                         24   amount to be proven at trial. Accordingly, Plaintiff seeks a monetary award for
                                                                                                                         25   violation of the UCL in damages, restitution, and/or disgorgement of ill-gotten gains
                                                                                                                         26   to compensate Plaintiff and the California Subclass for said monies, as well as
                                                                                                                         27   injunctive relief to enjoin             misconduct to prevent ongoing and future harm
                                                                                                                         28   that will result.
                                                                                                                                                                       24
                                                                                                                                                            CLASS ACTION24COMPLAINT
                                                                                                                              Case 2:24-cv-09557    Document 1     Filed 11/05/24   Page 25 of 40 Page ID #:25




                                                                                                                          1         53. Punitive Damages. Plaintiff seeks punitive damages pursuant to this
                                                                                                                          2   cause of action for violation of the UCL on behalf of Plaintiff and the California
                                                                                                                          3   Subclass.               unfair, fraudulent, and unlawful conduct described herein
                                                                                                                          4   constitutes malicious, oppressive, and/or fraudulent conduct warranting an award of
                                                                                                                          5   punitive damages as permitted by law.                   misconduct is malicious as
                                                                                                                          6   Defendant acted with the intent to cause Plaintiff and consumers to pay for a Product
                                                                                                                          7   that they were not, in fact, receiving. Defendant willfully and knowingly disregarded
                                                                                                                          8   the rights of Plaintiff and consumers as Defendant was, at all times, aware of the
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   probable dangerous consequences of its conduct and deliberately failed to avoid
                                                                                                                         10   misleading consumers, including Plaintiff.              misconduct is oppressive as,
                                                                                                                         11   at all relevant times, said conduct was so vile, base, and/or contemptible that
                                                                                                                         12   reasonable people would look down upon it and/or otherwise would despise such
                                                                                                                         13   corporate misconduct. Said misconduct subjected Plaintiff and consumers to cruel
                                                                                                                         14   and unjust hardship in knowing disregard of their rights.              misconduct is
                                                                                                                         15   fraudulent as Defendant intentionally misrepresented and/or concealed material facts
                                                                                                                         16   with the intent to deceive Plaintiff and consumers. The wrongful conduct constituting
                                                                                                                         17   malice, oppression, and/or fraud was committed, authorized, adopted, approved,
                                                                                                                         18   and/or ratified by officers, directors, and/or managing agents of Defendant.
                                                                                                                         19

                                                                                                                         20         54. Unfair Standard.
                                                                                                                         21

                                                                                                                         22                                                                      Camacho v. Auto
                                                                                                                         23   Club of Southern California, 142 Cal. App. 4th 1394, 1403 (2006).
                                                                                                                         24         55. Injury.                  actions of mislabeling the Product with the
                                                                                                                         25   Challenged Representation do not confer any benefit to consumers; rather, doing so
                                                                                                                         26   causes injuries to consumers, who do not receive a product commensurate with their
                                                                                                                         27   reasonable expectations, overpay for the Product, and receive a product of lesser
                                                                                                                         28   standards than what they reasonably expected to receive. Consumers cannot avoid
                                                                                                                                                                     25
                                                                                                                                                          CLASS ACTION25COMPLAINT
                                                                                                                              Case 2:24-cv-09557     Document 1     Filed 11/05/24    Page 26 of 40 Page ID #:26




                                                                                                                          1   any of the injuries caused by             deceptive labeling and/or advertising of the
                                                                                                                          2   Product. Accordingly, the injuries caused by                    deceptive labeling and
                                                                                                                          3   advertising outweigh any benefits.
                                                                                                                          4         56. Balancing Test. Some courts conduct a balancing test to decide if a
                                                                                                                          5   challenged activity amounts to unfair conduct under California Business and
                                                                                                                          6                                                                                  conduct
                                                                                                                          7                                                              Davis v. HSBC Bank Nevada,
                                                                                                                          8   N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9         57. No Utility. Here,                  conduct of labeling the Product as made
                                                                                                                         10   with plant-based ingredients when the Product contains numerous non-plant-based
                                                                                                                         11   ingredients, has no utility and financially harms purchasers. Thus, the utility of
                                                                                                                         12                conduct is vastly outweighed by the gravity of harm.
                                                                                                                         13         58. Legislative Declared Policy.
                                                                                                                         14   be tethered to some legislative declared policy or proof of some actual or threatened
                                                                                                                         15                             Lozano v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735
                                                                                                                         16   (9th Cir. 2007).
                                                                                                                         17         59. Unfair Conduct.                    labeling and advertising of the Product, as
                                                                                                                         18   alleged herein, is false, deceptive, misleading, and unreasonable, and constitutes
                                                                                                                         19   unfair conduct. Defendant knew or should have known of its unfair conduct.
                                                                                                                         20                misrepresentation constitutes an unfair business practice within the
                                                                                                                         21   meaning of California Business and Professions Code Section 17200.
                                                                                                                         22         60. Reasonably Available Alternatives. There existed reasonably available
                                                                                                                         23   alternatives to further               legitimate business interests, other than the
                                                                                                                         24   conduct described herein. Defendant could have refrained from labeling the Product
                                                                                                                         25   with the Challenged Representation.
                                                                                                                         26         61.                 Wrongful Conduct. All of the conduct alleged herein
                                                                                                                         27   occurs and continues to occur in               business.             wrongful conduct
                                                                                                                         28

                                                                                                                                                                     26
                                                                                                                                                          CLASS ACTION26COMPLAINT
                                                                                                                              Case 2:24-cv-09557     Document 1       Filed 11/05/24   Page 27 of 40 Page ID #:27




                                                                                                                          1   is part of a pattern or generalized course of conduct repeated on thousands of
                                                                                                                          2   occasions daily.
                                                                                                                          3         62. Injunction. Pursuant to Business and Professions Code Sections 17203,
                                                                                                                          4   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                                                                          5   from continuing to engage, use, or employ its practices of labeling the Product with
                                                                                                                          6   the Challenged Representation.
                                                                                                                          7         63. Causation/Damages. Plaintiff and the California Subclass have suffered
                                                                                                                          8   injury in fact and have lost money as a result of              unfair conduct. Plaintiff
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   and the California Subclass paid an unwarranted premium for the Product.
                                                                                                                         10   Specifically, Plaintiff and the California Subclass paid for a Product that was
                                                                                                                         11   supposedly made with only plant-based ingredients, but instead purchased a Product
                                                                                                                         12   that contains numerous non-plant-based ingredients. Plaintiff and the California
                                                                                                                         13   Subclass would not have purchased the Product, or would have paid substantially less
                                                                                                                         14   for the Product, if they had known that the Product s advertising and labeling were
                                                                                                                         15   deceptive. Accordingly, Plaintiff seeks damages, restitution and/or disgorgement of
                                                                                                                         16   ill-gotten gains pursuant to the UCL.
                                                                                                                         17

                                                                                                                         18         64. Fraud Standard. The UCL considers conduct fraudulent (and prohibits
                                                                                                                         19   said conduct) if it is likely to deceive members of the public. Bank of the West v.
                                                                                                                         20   Superior Court, 2 Cal. 4th 1254, 1267 (1992).
                                                                                                                         21         65. Fraudulent & Material Challenged Representation. Defendant used
                                                                                                                         22   the Challenged Representation with the intent to sell the Product to consumers,
                                                                                                                         23   including Plaintiff and the California Subclass. The Challenged Representation is
                                                                                                                         24   false, and Defendant knew or should have known of its falsity. The Challenged
                                                                                                                         25   Representation is likely to deceive consumers into purchasing the Product because it
                                                                                                                         26   is material to the average, ordinary, and reasonable consumer.
                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                     27
                                                                                                                                                          CLASS ACTION27COMPLAINT
                                                                                                                              Case 2:24-cv-09557      Document 1      Filed 11/05/24    Page 28 of 40 Page ID #:28




                                                                                                                          1         66. Fraudulent Business Practice. As alleged herein, the misrepresentation
                                                                                                                          2   by Defendant constitutes a fraudulent business practice in violation of California
                                                                                                                          3   Business & Professions Code Section 17200.
                                                                                                                          4         67. Reasonable and Detrimental Reliance. Plaintiff and the California
                                                                                                                          5   Subclass reasonably and detrimentally relied on the material and false Challenged
                                                                                                                          6   Representation to their detriment in that they purchased the Product.
                                                                                                                          7         68. Reasonably Available Alternatives. Defendant had reasonably
                                                                                                                          8   available alternatives to further its legitimate business interests, other than the conduct
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   described herein. Defendant could have refrained from labeling the Product with the
                                                                                                                         10   Challenged Representation.
                                                                                                                         11         69. Business Practice. All of the conduct alleged herein occurs and continues
                                                                                                                         12   to occur in               business.                 wrongful conduct is part of a pattern
                                                                                                                         13   or generalized course of conduct.
                                                                                                                         14         70. Injunction. Pursuant to Business and Professions Code Sections 17203,
                                                                                                                         15   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                                                                         16   from continuing to engage, use, or employ its practice of labeling the Product with
                                                                                                                         17   the Challenged Representation.
                                                                                                                         18         71. Causation/Damages. Plaintiff and the California Subclass have suffered
                                                                                                                         19   injury in fact and have lost money as a result of                unfair conduct. Plaintiff
                                                                                                                         20   and the California Subclass paid an unwarranted premium for the Product.
                                                                                                                         21   Specifically, Plaintiff and the California Subclass paid for a Product that was
                                                                                                                         22   supposedly made with only plant-based ingredients, but instead purchased a Product
                                                                                                                         23   that contains numerous non-plant-based ingredients. Plaintiff and the California
                                                                                                                         24   Subclass would not have purchased the Product, or would have paid substantially less
                                                                                                                         25   for the Product, if they had known that the Product s advertising and labeling were
                                                                                                                         26   deceptive. Accordingly, Plaintiff seeks damages, restitution and/or disgorgement of
                                                                                                                         27   ill-gotten gains pursuant to the UCL.
                                                                                                                         28

                                                                                                                                                                      28
                                                                                                                                                           CLASS ACTION28COMPLAINT
                                                                                                                              Case 2:24-cv-09557      Document 1     Filed 11/05/24    Page 29 of 40 Page ID #:29




                                                                                                                          1
                                                                                                                          2         72. Unlawful Standard. The UCL identifies violations of other laws as
                                                                                                                          3
                                                                                                                          4   Velazquez v. GMAC Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).
                                                                                                                          5         73. Violations of CLRA and FAL.                         labeling of the Product, as
                                                                                                                          6   alleged herein, violates California Civil Code sections 1750, et seq.            CLRA
                                                                                                                          7   and California Business and Professions Code sections 17500, et seq.            FAL
                                                                                                                          8   set forth below in the sections regarding those causes of action.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9         74. Additional Violations.                        conduct in making the false
                                                                                                                         10   representation described herein constitutes a knowing failure to adopt policies in
                                                                                                                         11   accordance with and/or adherence to applicable laws, as set forth herein, all of which
                                                                                                                         12   are binding upon and burdensome to its competitors. This conduct engenders an unfair
                                                                                                                         13   competitive advantage for Defendant, thereby constituting an unfair, fraudulent
                                                                                                                         14   and/or unlawful business practice under California Business & Professions Code
                                                                                                                         15   sections 17200-17208. Additionally,                  misrepresentation of material facts,
                                                                                                                         16   as set forth herein, violates California Civil Code sections 1572, 1573, 1709, 1710,
                                                                                                                         17   1711, and 1770, as well as the common law.
                                                                                                                         18         75. Unlawful Conduct.                     labeling and advertising of the Product,
                                                                                                                         19   as alleged herein, are false, deceptive, misleading, and unreasonable, and constitute
                                                                                                                         20   unlawful conduct. Defendant knew or should have known of its unlawful conduct.
                                                                                                                         21         76. Reasonably Available Alternatives. Defendant had reasonably
                                                                                                                         22   available alternatives to further its legitimate business interests, other than the conduct
                                                                                                                         23   described herein. Defendant could have refrained from labeling the Product with the
                                                                                                                         24   Challenged Representation and/or omitting that the Product contained non-plant-
                                                                                                                         25   based ingredients.
                                                                                                                         26         77. Business Practice. All of the conduct alleged herein occurs and continues
                                                                                                                         27   to occur in               business.                wrongful conduct is part of a pattern
                                                                                                                         28   or generalized course of conduct.
                                                                                                                                                                      29
                                                                                                                                                           CLASS ACTION29COMPLAINT
                                                                                                                              Case 2:24-cv-09557        Document 1    Filed 11/05/24   Page 30 of 40 Page ID #:30




                                                                                                                          1         78. Injunction. Pursuant to Business and Professions Code Section 17203,
                                                                                                                          2   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                                                                          3   from continuing to engage, use, or employ its practice of false and deceptive
                                                                                                                          4   advertising of the Product.
                                                                                                                          5         79. Causation/Damages. Plaintiff and the California Subclass have suffered
                                                                                                                          6   injury in fact and have lost money as a result of              unfair conduct. Plaintiff
                                                                                                                          7   and the California Subclass paid an unwarranted premium for the Product.
                                                                                                                          8   Specifically, Plaintiff and the California Subclass paid for a Product that was
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   supposedly comprised of only plant-based ingredients, but instead purchased a
                                                                                                                         10   Product that contains numerous non-plant-based ingredients. Plaintiff and the
                                                                                                                         11   California Subclass would not have purchased the Product, or would have paid
                                                                                                                         12   substantially less for the Product, if they had known that the Product s advertising and
                                                                                                                         13   labeling were deceptive. Accordingly, Plaintiff seeks damages, restitution and/or
                                                                                                                         14   disgorgement of ill-gotten gains pursuant to the UCL.
                                                                                                                         15                                           COUNT TWO
                                                                                                                         16                      Violation of California False Advertising Law
                                                                                                                         17                         (Cal. Bus. & Prof. Code §§ 17500, et seq.)
                                                                                                                         18                             (On Behalf of the California Subclass)
                                                                                                                         19         80. Incorporation by reference. Plaintiff re-alleges and incorporates by
                                                                                                                         20   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                                                                         21         81. California Subclass. Plaintiff brings this claim individually and on
                                                                                                                         22   behalf of the California Subclass who purchased the Product within the applicable
                                                                                                                         23   statute of limitations.
                                                                                                                         24         82. FAL Standard. The False Advertising Law, codified at Cal. Bus. & Prof.
                                                                                                                         25   Code section 17500, et seq.
                                                                                                                         26

                                                                                                                         27         83. False & Material Challenged Representation Disseminated to Public.
                                                                                                                         28   Defendant violated section 17500 when it advertised and marketed the Product
                                                                                                                                                                        30
                                                                                                                                                             CLASS ACTION30COMPLAINT
                                                                                                                              Case 2:24-cv-09557      Document 1    Filed 11/05/24   Page 31 of 40 Page ID #:31




                                                                                                                          1   through the unfair, deceptive, untrue, and misleading Challenged Representation
                                                                                                                          2   disseminated to the public through the Product s labeling, marketing, and advertising.
                                                                                                                          3   This representation was false because the Product does not conform to it. The
                                                                                                                          4   representation was material because it is likely to mislead a reasonable consumer into
                                                                                                                          5   purchasing the Product.
                                                                                                                          6            84. Knowledge. In making and disseminating the representation alleged
                                                                                                                          7   herein, Defendant knew or should have known that the representation was untrue or
                                                                                                                          8   misleading, and acted in violation of § 17500.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9            85. Intent to Sell.             Challenged Representation was specifically
                                                                                                                         10   designed to induce reasonable consumers, like Plaintiff and the California Subclass,
                                                                                                                         11   to purchase the Product.
                                                                                                                         12            86. Causation/Damages. As a direct and proximate result of
                                                                                                                         13   misconduct in violation of the FAL, Plaintiff and members of the California Subclass
                                                                                                                         14   were harmed in the amount of the purchase price they paid for the Product. Further,
                                                                                                                         15   Plaintiff and members of the Class have suffered and continue to suffer economic
                                                                                                                         16   losses and other damages including, but not limited to, the amounts paid for the
                                                                                                                         17   Product, and any interest that would have accrued on those monies, in an amount to
                                                                                                                         18   be proven at trial. Accordingly, Plaintiff seeks a monetary award for violation of the
                                                                                                                         19   FAL in damages, restitution, and/or disgorgement of ill-gotten gains to compensate
                                                                                                                         20   Plaintiff and the California Subclass for said monies, as well as injunctive relief to
                                                                                                                         21   enjoin               misconduct prevent ongoing and future harm that will result.
                                                                                                                         22            87. Punitive Damages.               unfair, fraudulent, and unlawful conduct
                                                                                                                         23   described herein constitutes malicious, oppressive, and/or fraudulent conduct
                                                                                                                         24   warranting an award of punitive damages as permitted by law.
                                                                                                                         25   misconduct is malicious as Defendant acted with the intent to cause Plaintiff and
                                                                                                                         26   consumers to pay for a Product that they were not, in fact, receiving. Defendant
                                                                                                                         27   willfully and knowingly disregarded the rights of Plaintiff and consumers as
                                                                                                                         28   Defendant was aware of the probable dangerous consequences of its conduct and
                                                                                                                                                                        31
                                                                                                                                                             CLASS ACTION31COMPLAINT
                                                                                                                              Case 2:24-cv-09557         Document 1    Filed 11/05/24   Page 32 of 40 Page ID #:32




                                                                                                                          1   deliberately failed to avoid misleading consumers, including Plaintiff.
                                                                                                                          2   misconduct is oppressive as, at all relevant times, said conduct was so vile, base,
                                                                                                                          3   and/or contemptible that reasonable people would look down upon it and/or otherwise
                                                                                                                          4   would despise such corporate misconduct. Said misconduct subjected Plaintiff and
                                                                                                                          5   consumers to cruel and unjust hardship in knowing disregard of their
                                                                                                                          6   rights.                   misconduct is fraudulent as Defendant, at all relevant times,
                                                                                                                          7   intentionally misrepresented and/or concealed material facts with the intent to deceive
                                                                                                                          8   Plaintiff and consumers. The wrongful conduct constituting malice, oppression,
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   and/or fraud was committed, authorized, adopted, approved, and/or ratified by
                                                                                                                         10   officers, directors, and/or managing agents of Defendant.
                                                                                                                         11                                           COUNT THREE
                                                                                                                         12                   Violation of California Consumers Legal Remedies Act
                                                                                                                         13                                 (Cal. Civ. Code §§ 1750, et seq.)
                                                                                                                         14                              (On Behalf of the California Subclass)
                                                                                                                         15             88. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                                                                         16   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                                                                         17             89. California Subclass. Plaintiff brings this claim individually and on
                                                                                                                         18   behalf of the California Subclass who purchased the Product within the applicable
                                                                                                                         19   statute of limitations.
                                                                                                                         20             90. CLRA Standard.
                                                                                                                         21   competition and unfair or deceptive acts or practices undertaken by any person in a
                                                                                                                         22   transaction intended to result or which results in the sale or lease of goods or services
                                                                                                                         23
                                                                                                                         24             91. Goods/Services. The Product is a
                                                                                                                         25   California Civil Code §1761(a).
                                                                                                                         26             92. Defendant. Defendant is
                                                                                                                         27   California Civil Code §1761(c).
                                                                                                                         28

                                                                                                                                                                         32
                                                                                                                                                              CLASS ACTION32COMPLAINT
                                                                                                                              Case 2:24-cv-09557           Document 1     Filed 11/05/24    Page 33 of 40 Page ID #:33




                                                                                                                          1            93. Consumers. Plaintiff and members of the California Subclass are
                                                                                                                          2

                                                                                                                          3            94. Transactions. The purchase of the Product by Plaintiff and members of
                                                                                                                          4
                                                                                                                          5   Civil Code § 1761(e).
                                                                                                                          6            95. Violations of the CLRA. Defendant violated the following sections of
                                                                                                                          7   the CLRA by selling the Product to Plaintiff and the California Subclass through the
                                                                                                                          8   false, misleading, deceptive, and fraudulent Challenged Representation:
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9                 a. Section       1770(a)(5)    by     representing    that   the   Product   has
                                                                                                                         10                                                                              it] do[es]
                                                                                                                         11                 b. Section 1770(a)(7) by representing that the Product [is] of a particular
                                                                                                                         12                    standard, quality, or grade . . . [when] [it is]
                                                                                                                         13                 c. Section 1770(a)(9) by advertising the Product
                                                                                                                         14                    sell [it]
                                                                                                                         15      96.        Knowledge.                     uniform and material representation regarding
                                                                                                                         16   the Product was likely to deceive, and Defendant knew or should have known that its
                                                                                                                         17   representation was untrue and misleading.
                                                                                                                         18      97.        Malicious.                    conduct is malicious, fraudulent, and wanton in
                                                                                                                         19   that Defendant intentionally misled and withheld material information from
                                                                                                                         20   consumers, including Plaintiff, to increase the sale of the Product.
                                                                                                                         21      98.        Plaintiff Could Not Have Avoided Injury. Plaintiff and members of the
                                                                                                                         22   California Subclass could not have reasonably avoided such injury. Plaintiff and
                                                                                                                         23   members of the California Subclass were unaware of the existence of the facts that
                                                                                                                         24   Defendant suppressed and failed to disclose, and Plaintiff and members of the
                                                                                                                         25   California Subclass would not have purchased the Product and/or would have
                                                                                                                         26   purchased it on different terms had they known the truth.
                                                                                                                         27      99.        Causation/Reliance/Materiality. Plaintiff and the California Subclass
                                                                                                                         28   suffered harm as a result of                      violations of the CLRA because they relied
                                                                                                                                                                          33
                                                                                                                                                               CLASS ACTION33COMPLAINT
                                                                                                                              Case 2:24-cv-09557     Document 1     Filed 11/05/24   Page 34 of 40 Page ID #:34




                                                                                                                          1   on the Challenged Representation in deciding to purchase the Product. The
                                                                                                                          2   Challenged Representation was a substantial factor. The Challenged Representation
                                                                                                                          3   was material because a reasonable consumer would consider it important in deciding
                                                                                                                          4   whether to purchase the Product.
                                                                                                                          5        100.   Section 1782(d) Prelitigation Demand/Notice. Pursuant to California
                                                                                                                          6   Civil Code, section 1782, more than thirty days prior to the filing of this complaint,
                                                                                                                          7   on or around July 26 of
                                                                                                                          8   Class, mailed a Demand Letter, via U.S. certified mail, return receipt requested,
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   addressed to Defendant 9199-4467 Québec Inc. at its headquarters and principal place
                                                                                                                         10   of business (8500 Decarie Blvd., 7th Floor, Mont-Royal, Québec, H4P 2N2, Canada),
                                                                                                                         11   and its alternative address (228-1350 rue Mazurette, Montréal Québec H4N1H2,
                                                                                                                         12   Canada).
                                                                                                                         13        101.   Causation/Damages. As a direct and proximate result of
                                                                                                                         14   misconduct in violation of the CLRA, Plaintiff and members of the California
                                                                                                                         15   Subclass were harmed in the amount of the purchase price they paid for the Product.
                                                                                                                         16   Further, Plaintiff and members of the Class have suffered and continue to suffer
                                                                                                                         17   economic losses and other damages including, but not limited to, the amounts paid
                                                                                                                         18   for the Product, and any interest that would have accrued on those monies, in an
                                                                                                                         19   amount to be proven at trial. Accordingly, Plaintiff seeks a monetary award for
                                                                                                                         20   violation of this Act in the form of damages, restitution, disgorgement of ill-gotten
                                                                                                                         21   gains to compensate Plaintiff and the California Subclass for said monies.
                                                                                                                         22        102.   Injunction. Given that                 conduct violated California Civil
                                                                                                                         23   Code section 1780, Plaintiff and members of the California Subclass are entitled to
                                                                                                                         24   seek, and do hereby seek, injunctive relief to put an end to             violations of
                                                                                                                         25   the CLRA and to dispel the public misperception generated, facilitated, and fostered
                                                                                                                         26   by              false advertising campaign. Plaintiff has no adequate remedy at law.
                                                                                                                         27   Without equitable relief,              unfair and deceptive practices will continue to
                                                                                                                         28   harm Plaintiff and the California Subclass. Accordingly, Plaintiff seeks an injunction
                                                                                                                                                                     34
                                                                                                                                                          CLASS ACTION34COMPLAINT
                                                                                                                              Case 2:24-cv-09557       Document 1    Filed 11/05/24   Page 35 of 40 Page ID #:35




                                                                                                                          1   to enjoin Defendant from continuing to employ the unlawful methods, acts, and
                                                                                                                          2   practices alleged herein pursuant to section 1780(a)(2), and otherwise requires
                                                                                                                          3   Defendant to take corrective action necessary to dispel the public misperception
                                                                                                                          4   engendered, fostered, and facilitated through                 deceptive labeling of the
                                                                                                                          5   Product with the Challenged Representation.
                                                                                                                          6      103.        Punitive Damages.               unfair, fraudulent, and unlawful conduct
                                                                                                                          7   described herein constitutes malicious, oppressive, and/or fraudulent conduct
                                                                                                                          8   warranting an award of punitive damages as permitted by law.
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   misconduct is malicious as Defendant acted with the intent to cause Plaintiff and
                                                                                                                         10   consumers to pay for a Product that they were not, in fact, receiving. Defendant
                                                                                                                         11   willfully and knowingly disregarded the rights of Plaintiff and consumers as
                                                                                                                         12   Defendant was, at all times, aware of the probable dangerous consequences of its
                                                                                                                         13   conduct and deliberately failed to avoid misleading consumers, including Plaintiff.
                                                                                                                         14                   misconduct is oppressive as, at all relevant times, said conduct was so
                                                                                                                         15   vile, base, and/or contemptible that reasonable people would look down upon it and/or
                                                                                                                         16   otherwise would despise such corporate misconduct. Said misconduct subjected
                                                                                                                         17   Plaintiff and consumers to cruel and unjust hardship in knowing disregard of their
                                                                                                                         18   rights.                misconduct is fraudulent as Defendant, at all relevant times,
                                                                                                                         19   intentionally misrepresented and/or concealed material facts with the intent to deceive
                                                                                                                         20   Plaintiff and consumers. The wrongful conduct constituting malice, oppression,
                                                                                                                         21   and/or fraud was committed, authorized, adopted, approved, and/or ratified by
                                                                                                                         22   officers, directors, and/or managing agents of Defendant. Accordingly, Plaintiff seeks
                                                                                                                         23   an award of punitive damages against Defendant.
                                                                                                                         24                                       COUNT FOUR
                                                                                                                         25                                     Breach of Warranty
                                                                                                                         26                 (On Behalf of the Nationwide Class and California Subclass)
                                                                                                                         27             104. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                                                                         28   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                                                                                                                       35
                                                                                                                                                            CLASS ACTION35COMPLAINT
                                                                                                                              Case 2:24-cv-09557     Document 1     Filed 11/05/24   Page 36 of 40 Page ID #:36




                                                                                                                          1         105. Nationwide Class & California Subclass. Plaintiff brings this claim
                                                                                                                          2   individually and on behalf of the Class who purchased the Product within the
                                                                                                                          3   applicable statute of limitations.
                                                                                                                          4         106. Express Warranty. By advertising and selling the Product at issue,
                                                                                                                          5   Defendant made promises and affirmations of fact on the Product s labeling, and
                                                                                                                          6   through its marketing and advertising, as described herein. This labeling and
                                                                                                                          7   advertising constitute express warranties and became part of the basis of the bargain
                                                                                                                          8   between Plaintiff and members of the Class and Defendant. Defendant purports,
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   through the Product s labeling and advertising, to create express warranties that the
                                                                                                                         10   Product, among other things, conforms to the Challenged Representation.
                                                                                                                         11         107. Implied Warranty of Merchantability. By advertising and selling the
                                                                                                                         12   Product at issue, Defendant, merchant of goods, made promises and affirmations of
                                                                                                                         13   fact that the Product is merchantable and conforms to the promises or affirmations of
                                                                                                                         14   fact made on the Product s labeling, and through its marketing and advertising, as
                                                                                                                         15   described herein. This labeling and advertising, combined with the implied warranty
                                                                                                                         16   of merchantability, constitute warranties that became part of the basis of the bargain
                                                                                                                         17   between Plaintiff and members of the Class and Defendant       to wit, that the Product,
                                                                                                                         18   among other things, conforms to the Challenged Representation.
                                                                                                                         19         108. Breach of Warranty. Contrary to                     express warranties, the
                                                                                                                         20   Product does not conform to the Challenged Representation and, therefore, Defendant
                                                                                                                         21   breached its warranties about the Product and its qualities.
                                                                                                                         22         109. Causation/Remedies. As a direct and proximate result of
                                                                                                                         23   breach of express warranty, Plaintiff and members of the Class were harmed in the
                                                                                                                         24   amount of the purchase price they paid for the Product. Further, Plaintiff and members
                                                                                                                         25   of the Class have suffered and continue to suffer economic losses and other damages
                                                                                                                         26   including, but not limited to, the amounts paid for the Product, and any interest that
                                                                                                                         27   would have accrued on those monies, in an amount to be proven at trial. Accordingly,
                                                                                                                         28   Plaintiff seeks a monetary award for breach of warranty in the form of damages,
                                                                                                                                                                      36
                                                                                                                                                           CLASS ACTION36COMPLAINT
                                                                                                                              Case 2:24-cv-09557     Document 1     Filed 11/05/24    Page 37 of 40 Page ID #:37




                                                                                                                          1   restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff and the
                                                                                                                          2   Class for said monies, as well as injunctive relief to enjoin               misconduct
                                                                                                                          3   to prevent ongoing and future harm that will result.
                                                                                                                          4         110. Punitive Damages. Plaintiff seeks punitive damages pursuant to this
                                                                                                                          5   cause of action for breach of warranty on behalf of Plaintiff and the Class.
                                                                                                                          6                 unfair, fraudulent, and unlawful conduct described herein constitutes
                                                                                                                          7   malicious, oppressive, and/or fraudulent conduct warranting an award of punitive
                                                                                                                          8   damages as permitted by law.                   misconduct is malicious as Defendant
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   acted with the intent to cause Plaintiff and consumers to pay for Product that they
                                                                                                                         10   were not, in fact, receiving. Defendant willfully and knowingly disregarded the rights
                                                                                                                         11   of Plaintiff and consumers as Defendant was aware of the probable dangerous
                                                                                                                         12   consequences of its conduct and deliberately failed to avoid misleading consumers,
                                                                                                                         13   including Plaintiff.             misconduct is oppressive as, at all relevant times, said
                                                                                                                         14   conduct was so vile, base, and/or contemptible that reasonable people would look
                                                                                                                         15   down upon it and/or otherwise would despise such misconduct. Said misconduct
                                                                                                                         16   subjected Plaintiff and consumers to cruel and unjust hardship in knowing disregard
                                                                                                                         17   of their rights.              misconduct is fraudulent as Defendant, at all relevant
                                                                                                                         18   times, intentionally misrepresented and/or concealed material facts with the intent to
                                                                                                                         19   deceive Plaintiff and consumers. The wrongful conduct constituting malice,
                                                                                                                         20   oppression, and/or fraud was committed, authorized, adopted, approved, and/or
                                                                                                                         21   ratified by officers, directors, and/or managing agents of Defendant.
                                                                                                                         22                                       COUNT FIVE
                                                                                                                         23                             Unjust Enrichment/Restitution
                                                                                                                         24              (On Behalf of the Nationwide Class and California Subclass)
                                                                                                                         25         111. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                                                                         26   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                      37
                                                                                                                                                           CLASS ACTION37COMPLAINT
                                                                                                                              Case 2:24-cv-09557     Document 1      Filed 11/05/24    Page 38 of 40 Page ID #:38




                                                                                                                          1         112. Nationwide Class & California Subclass. Plaintiff brings this claim
                                                                                                                          2   individually and on behalf of the Class who purchased the Product within the
                                                                                                                          3   applicable statute of limitations.
                                                                                                                          4         113. Plaintiff/Class Conferred a Benefit. By purchasing the Product,
                                                                                                                          5   Plaintiff and members of the Class conferred a benefit on Defendant in the form of
                                                                                                                          6   the purchase price of the Product.
                                                                                                                          7         114.                   Knowledge of Conferred Benefit. Defendant had
                                                                                                                          8   knowledge of such benefit and Defendant appreciated the benefit because, were
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   consumers not to purchase the Product, Defendant would not generate revenue from
                                                                                                                         10   the sales of the Product.
                                                                                                                         11         115.                  Unjust Receipt Through Deception.                   owing
                                                                                                                         12   acceptance and retention of the benefit is inequitable and unjust because the benefit
                                                                                                                         13   was obtained by                   fraudulent, misleading, and deceptive representation
                                                                                                                         14   and omission.
                                                                                                                         15         116. Causation/Damages. As a direct and proximate result of
                                                                                                                         16   unjust enrichment, Plaintiff and members of the Class were harmed in the amount of
                                                                                                                         17   the purchase price they paid for the Product. Further, Plaintiff and members of the
                                                                                                                         18   Class have suffered and continue to suffer economic losses and other damages
                                                                                                                         19   including, but not limited to, the amounts paid for the Product, and any interest that
                                                                                                                         20   would have accrued on those monies, in an amount to be proven at trial. Accordingly,
                                                                                                                         21   Plaintiff seeks a monetary award for unjust enrichment in damages, restitution, and/or
                                                                                                                         22   disgorgement of ill-gotten gains to compensate Plaintiff and the Class for said monies,
                                                                                                                         23   as well as injunctive relief to enjoin Defenda          conduct to prevent ongoing and
                                                                                                                         24   future harm that will result.
                                                                                                                         25         117. Punitive Damages. Plaintiff seeks punitive damages pursuant to this
                                                                                                                         26   cause of action for unjust enrichment on behalf of Plaintiff and the Class.
                                                                                                                         27   unfair, fraudulent, and unlawful conduct described herein constitutes malicious,
                                                                                                                         28   oppressive, and/or fraudulent conduct warranting an award of punitive damages as
                                                                                                                                                                         38
                                                                                                                                                              CLASS ACTION38COMPLAINT
                                                                                                                              Case 2:24-cv-09557       Document 1    Filed 11/05/24   Page 39 of 40 Page ID #:39




                                                                                                                          1   permitted by law.                 misconduct is malicious as Defendant acted with the
                                                                                                                          2   intent to cause Plaintiff and consumers to pay for a Product that they were not, in fact,
                                                                                                                          3   receiving. Defendant willfully and knowingly disregarded the rights of Plaintiff and
                                                                                                                          4   consumers as Defendant was aware of the probable dangerous consequences of its
                                                                                                                          5   conduct and deliberately failed to avoid misleading consumers, including Plaintiff.
                                                                                                                          6   Defendant misconduct is oppressive as, at all relevant times, said conduct was so
                                                                                                                          7   vile, base, and/or contemptible that reasonable people would look down upon it and/or
                                                                                                                          8   otherwise would despise such corporate misconduct. Said misconduct subjected
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                          9   Plaintiff and consumers to cruel and unjust hardship in knowing disregard of their
                                                                                                                         10   rights.                misconduct is fraudulent as Defendant, at all relevant times,
                                                                                                                         11   intentionally misrepresented and/or concealed material facts with the intent to deceive
                                                                                                                         12   Plaintiff and consumers. The wrongful conduct constituting malice, oppression,
                                                                                                                         13   and/or fraud was committed, authorized, adopted, approved, and/or ratified by
                                                                                                                         14   officers, directors, and/or managing agents of Defendant.
                                                                                                                         15                                   PRAYER FOR RELIEF
                                                                                                                         16             118. WHEREFORE, Plaintiff, individually and on behalf of all others
                                                                                                                         17   similarly situated, prays for judgment against Defendant as follows:
                                                                                                                         18
                                                                                                                                         a. Certification: For an order certifying this action as a class action,
                                                                                                                         19                 appointing Plaintiff as the Class Representative, and appointing
                                                                                                                         20
                                                                                                                                         b. Declaratory Relief: For an order declaring that                  conduct
                                                                                                                         21
                                                                                                                                            violates the statutes and laws referenced herein, consistent with
                                                                                                                         22                 applicable law and pursuant to only those causes of action so permitted;
                                                                                                                         23              c. Injunction: For an order requiring Defendant to change its business
                                                                                                                                            practices to prevent or mitigate the risk of the consumer deception and
                                                                                                                         24                 violations of law outlined herein. This includes, for example, orders that
                                                                                                                         25                 Defendant immediately cease and desist from selling the unlawful
                                                                                                                                            Product in violation of law; that enjoin Defendant from continuing to
                                                                                                                         26                 market, advertise, distribute, and sell the Product in the unlawful manner
                                                                                                                                            described herein; that require Defendant to engage in an affirmative
                                                                                                                         27                 advertising campaign to dispel the public misperception of the Product
                                                                                                                                            resulting from                   unlawful conduct; and/or that require
                                                                                                                         28
                                                                                                                                            Defendant to take all further and just corrective action, consistent with
                                                                                                                                                                       39
                                                                                                                                                            CLASS ACTION39COMPLAINT
                                                                                                                              Case 2:24-cv-09557      Document 1     Filed 11/05/24   Page 40 of 40 Page ID #:40




                                                                                                                                            applicable law and pursuant to only those causes of action so permitted;
                                                                                                                          1
                                                                                                                          2            d. Damages/Restitution/Disgorgement: For an order awarding monetary
                                                                                                                                          compensation in the form of damages, restitution, and/or disgorgement to
                                                                                                                          3               Plaintiff and the Class, consistent with applicable law and pursuant to
                                                                                                                                          only those causes of action so permitted;
                                                                                                                          4
                                                                                                                          5            e. Punitive Damages/Penalties: For an order awarding punitive damages,
                                                                                                                                          statutory penalties, and/or monetary fines, consistent with applicable law
                                                                                                                          6               and pursuant to only those causes of action so permitted;
                                                                                                                          7            f.
                                                                                                                                            costs, consistent with applicable law and pursuant to only those causes of
                                                                                                                          8
Malk & Pogo Law Group, LLP | 1241 S. Glendale, Ave Suite 204, Glendale, CA 91205 | P: (818) 484-5204 | malkpogolaw.com




                                                                                                                                            action so permitted;
                                                                                                                          9
                                                                                                                                       g. Pre/Post-Judgment Interest: For an order awarding pre-judgment and
                                                                                                                         10               post-judgment interest, consistent with applicable law and pursuant to
                                                                                                                                          only those causes of action so permitted; and
                                                                                                                         11
                                                                                                                         12            h. All Just & Proper Relief: For such other and further relief as the Court
                                                                                                                                          deems just and proper.
                                                                                                                         13

                                                                                                                         14                               DEMAND FOR JURY TRIAL
                                                                                                                         15          119. Plaintiff hereby demands a trial by jury on all issues and causes of action
                                                                                                                         16   so triable.
                                                                                                                         17

                                                                                                                         18   DATED: November 5, 2024                 MALK & POGO LAW GROUP, LLP
                                                                                                                         19                                           /s/ Valter Malkhasyan
                                                                                                                                                                      Valter Malkhasyan, Esq.
                                                                                                                         20
                                                                                                                                                                      Erik Pogosyan, Esq.
                                                                                                                         21

                                                                                                                         22                                           Counsel for Plaintiff
                                                                                                                         23
                                                                                                                         24

                                                                                                                         25
                                                                                                                         26

                                                                                                                         27

                                                                                                                         28

                                                                                                                                                                       40
                                                                                                                                                            CLASS ACTION40COMPLAINT
